                                                           Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.874 Filed 07/22/23 Page 1 of 62




                                                                                        STATE OF MICHIGAN
                                                                       IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW
                                                                                         BUSINESS COURT

                                                           COMERICA BANK,
                                                                     Plaintiff/Counter-Defendant,
                                                                                                                 Case No. 23-000557-CB
                                                           vs.
                                                                                                                 Hon. Timothy P. Connors
                                                           LIBERTARIAN PARTY OF MICHIGAN
                                                           EXECUTIVE COMMITTEE, INC.;
                                                           JOSEPH BRUNGARDT; MICHAEL
                                                           SALIBA; and ANGELA THORNTON,
                                                           a/k/a ANGELA CANNY,
                                                                       Defendants/Counter-Plaintiffs,

                                                           and

                                                           ANDREW CHADDERDON,
                                                                    Defendant.
                                                                                                                                              ____/
FILED IN Washtenaw County Trial Court; 6/22/2023 2:23 PM




                                                           Henry Stancato (P29538)                      C. Nicholas Curcio (P75824)
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                                                             DEFENDANT ANDREW CHADDERDON’S ANSWER TO PLAINTIFF COMERICA
                                                               BANK’S FIRST AMENDED COMPLAINT AND AFFIRMATIVE DEFENSES




                                                                                                 EXHIBIT 45
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.875 Filed 07/22/23 Page 2 of 62




       NOW COMES the Defendant Andrew Chadderdon, by and through counsel, and for his

Answer to Plaintiff’s Complaint, states unto this Honorable Court as follows:

                                        INTRODUCTION

       The pivotal question in this lawsuit is what group constitutes the legitimate board of the

Libertarian Party of Michigan Executive Committee, Inc. (“LPMEC”). Defendant Andrew

Chadderdon (“Chadderdon”) is the chairman of the nationally recognized LPMEC board. The

insurgent defendants (Joseph Brungardt, Michael Saliba, and Angela Thorton) have been sued by

the national Libertarian party, have unsuccessfully disputed Mr. Chadderdon's Chairmanship and

lost that dispute on appeal within the Michigan party, and have been found by the Michigan party's

counsel to have instigated an illegal insurgency to try to obtain LPMEC’s funds and take over

LPMEC control.

       In order to establish ultimate legitimacy, Mr. Chadderdon does not appear in this lawsuit

as LPMEC, the tactic illegally and unethically undertaken by the insurgent defendants. But he does

respond in this lawsuit, both individually, and as the chairman of the nationally recognized

LPMEC. Mr. Chadderdon respects this process, and the Court's jurisdiction to make the ultimate

decision. As set forth below, he will demonstrate through proof of recognition by the national party,

documentation of the organization's legal counsel, and proof of the ruling of the Judicial

Committee, the ultimate arbiter of this decision within the Michigan party, that the individuals who

have misappropriated the identity of the LPMEC in this litigation have done so illegally and

without evidentiary support. By not filing pleadings on behalf of LPMEC until this Court has

issued its ruling, Mr. Chadderdon is not waving any right or argument as to his legitimate

leadership of the Michigan organization.




                                                 2
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.876 Filed 07/22/23 Page 3 of 62




                                            ANSWER

1.     This action constitutes a business or commercial dispute within the meaning of MCL

600.8031(c)(iii) because LPMEC is a nonprofit organization, and the claims arise out of that party's

organizational structure, governance, or finances.

       ANSWER: Admitted.

2.     This is an action for interpleader relief under MCR 3.603 or, alternatively, for declaratory

relief under MCR 2.605.

       ANSWER: Admitted.

3.     Comerica Bank, as stakeholder, seeks to interplead $38,233.30 belonging, on information

and belief, to its former deposit customer, Libertarian Party of Michigan Executive Committee,

Inc. (“LPMEC”). Comerica seeks this relief because a dispute among the individual defendants

concerning which of them is legally authorized to take receipt of funds and instruments belonging

to the corporate defendant leaves Comerica open to the risk of multiple liability.

       ANSWER: Admitted.

4.     Comerica Bank (“Comerica”) is a Texas banking association authorized to conduct

banking operations in Michigan. Comerica operates several branches in Washtenaw County.

       ANSWER: Admitted.

5.     LPMEC is a Michigan non-profit corporation with a registered office in Oakland County,

Michigan.

       ANSWER: Admitted with clarification. The Libertarian National Committee, Inc.

(“LNC”) is the National Committee of the Libertarian Party as defined by 52 USC § 30101(14)

which manages the business of the Libertarian Party through the United States at the national level.

The LNC is authorized to charter affiliates throughout the United States. In 1972, the LNC



                                                 3
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.877 Filed 07/22/23 Page 4 of 62




chartered the Libertarian Party of Michigan (“LPM”) as an affiliate of the Libertarian Party. The

Defendant Libertarian Party of Michigan Executive Committee (“LPMEC”) is the governing arm

of the LPM, and the directors of the LPMEC are defined in their Articles of Incorporation and

Corporate Bylaws and are recognized as an affiliate by LNC. The LNC recognizes Chadderdon as

the legitimate Chair of the LPMEC and has filed suit against the insurgent defendants Joseph

Brungardt (“Brungardt”), Michael Saliba (“Saliba”), and Angela Thornton (“Thornton”) for

trademark infringement for illegitimately claiming to hold LPMEC positions and for unauthorized

use of its Trademarks. [See Exhibit 1, Complaint for Trademark Infringement and Other Lanham

Act Violations Under 15 USC §§ 1114, 1125, Libertarian National Committee, Inc., v Saliba, et al,

23-cv-11074.] 1

6.     Joseph “Joe” Brungardt is an individual who resides, on information and belief, in Macomb

County, Michigan.

       ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph, and therefore denies the same.

7.     Andrew Chadderdon is an individual who resides, on information and belief, in Wayne

County, Michigan.

       ANSWER: Admitted.

8.     Michael “Mike” Saliba is an individual who resides, on information and belief, in Macomb

County, Michigan.

       ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph, and therefore denies the same.



1
 This federal lawsuit is still pending before the United States District Court for the Eastern District
of Michigan. On June 15, 2023, Plaintiff LNC filed a motion for preliminary injunction seeking to
stop the insurgent defendants' unlawful use of Plaintiff’s registered trademarks.
                                                  4
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.878 Filed 07/22/23 Page 5 of 62




9.     Angela Thornton, also known as Angela Canny, is an individual who resides, on

information and belief, in Genesee County, Michigan.

       ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph, and therefore denies the same.

10.    Venue in properly laid in Washtenaw County because the cause of action arose, in part, at

a Comerica branch in Washtenaw County as described below.

       ANSWER: Chadderdon does not contest that venue is properly laid in Washtenaw County.

11.    Before March 22, 2023, LPMEC was a deposit customer of Comerica with respect to five

deposit accounts.

       ANSWER: Admitted in part and denied in part. In February 2023, there were three deposit

accounts with Comerica: General Fund or Administrative account, Fund for State level campaign

funds, and Fund for Federal level campaign funds. In order to protect LPMEC’s accounts from

unauthorized spending, the legitimate officer(s) of LPMEC opened three new accounts on

February 27, 2023, and moved the funds in the old accounts to the new ones, corresponding to

each fund’s purpose. However, the legitimate officer(s) left $1,000.41 in the General Fund to cover

any authorized automated subscriptions or payments for ongoing expenses. Therefore, LPMEC

was a deposit customer of Comerica with respect to six deposit accounts, with two of those at zero

balances.

12.    On or about February 13, 2023, Joe Brungardt was the sole signer of record for LPMEC

deposit account xxx6457. At that time, Comerica’s books and records reflected that Joe Brungardt

was the LPMEC president.

       ANSWER: Denied. Deposit account xxx6457 was opened by Chadderdon as the legitimate

Chair of LPMEC on February 27, 2023, as a new deposit account for the LPMEC. Therefore,



                                                 5
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.879 Filed 07/22/23 Page 6 of 62




Brungardt could not have been the sole signer of record for that account on February 13, 2023, as

it did not yet exist. In December 2022, the Judicial Committee found that Brungardt’s

chairmanship was a violation of the LPMEC’s bylaws and parliamentary procedures, and the

Libertarian Executive Committee was reverted to its composition as of July 8, 2022. [See Exhibit

2 – Judicial Committee Ruling, Dec. 2022]. Per the bylaw procedures, Defendant Chadderdon was

the Chair of the Executive Committee on July 8, 2022, therefore Chadderdon was declared the

legitimate Chair or President. At the January 25, 2023 LPMEC meeting, the board issued a

directive, at Brungardt’s prompting or insistence, for Brungardt to accompany Chadderdon to

Comerica Bank to add Chadderdon as a signer. 2 But after this meeting, Brungardt, Saliba, and

Thornton decided to splinter off from the LPMEC, declared themselves to be the “true” LPMEC,

and held their own illegitimate meeting on January 31, 2023. In a calculated move, Brungardt

deliberately ignored the LPMEC’s directive to accompany Chadderdon to Comerica Bank to add

him as a signer on the accounts. And so Chadderdon and the other legitimate officers of the

LPMEC began to gather documentation to regain control of LPMEC’s bank accounts. On February

15, 2023, legal counsel for the Michigan affiliate party of the national party – the LPM - sent a

cease-and-desist letter to Brungardt, demanding that he immediately terminate any further

misrepresentation as having any authority to govern the affairs of LPM, to return all property

belonging to LPM, and to sign documents to transfer the LPM bank accounts to Chadderdon or

his designee. [See Exhibit 3, Letter from Eric Doster to Brungadt, 2/15/2023.) Brungardt again

unlawfully refused to follow this demand from LPM’s counsel. Ultimately the national Libertarian

Party - the LNC - initiated a federal suit against them for Trademark infringement, which is



2
  During that recorded meeting, Brungardt pushed for this directive to be approved because the
Treasurer had resigned for health reasons, and Brungardt did not want to have the liability of being
the sole signer on accounts when he was not the authorized or legitimate Chair.
                                                 6
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.880 Filed 07/22/23 Page 7 of 62




pending in the Eastern District. [See Exhibit 1, supra.] As to what Comerica’s books and records

reflect, Chadderdon lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in this paragraph, and therefore denies the same. However, Comerica did receive

documentation from Chadderdon and others that reflected that Chadderdon was the LPMEC Chair

or president.

13.    On that date, Joe Brungardt signed documentation at Comerica branch 68 adding Mike

Saliba and Angela Thornton as additional signers on account xxxx6457.

       ANSWER: As to what Brungardt did on February 13, 2023, Chadderdon lacks knowledge

or information sufficient to form a belief as to the truth of the allegations in this paragraph, and

therefore denies the same. However, it would have been impossible for Brungardt to have

attempted to add Saliba and Thornton onto account no. xxxx6457 on February 13, 2023, because

that account did not exist until Chadderdon opened it as a new account on February 27, 2023.

Account no. xxxx6457 was created as the new General Fund, with the old General Fund’s account

no. being xxxx4062.

14.    On or about February 22, 2023, Andrew Chadderdon appeared at a different Comerica

branch (219) in Washtenaw County asserting that he, rather than Mr. Brundgardt, was the duly

elected LPMEC president and seeking to substitute himself in place of the signers of record on

account xxxx6457.

       ANSWER: Admitted in part; denied in part. Admitted that Chadderdon was forced to seek

alternate means to obtain access to LPMEC’s accounts after Brungardt failed and/or refused to

perform his duties to transfer access to him as the rightful Chair of LPMEC, as demanded by the

LPM. [See Exhibit 3.] Denied that on February 22, 2023, Chadderdon sought to substitute himself

as the signer of record on account xxxx6457, as that account number did not exist until Chadderdon



                                                 7
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.881 Filed 07/22/23 Page 8 of 62




opened it on February 27, 2023. On this date, Chadderdon provided the following to Plaintiff to

substantiate his role as the legitimate Chair or president: a letter from secretary Daniel Ziemba

stating that Chadderdon was the Chair and was authorized to take control of the accounts; meeting

minutes from the LPMEC January 25, 2023 meeting reflecting that Brungardt was directed to add

Chadderdon to the accounts; a LARA filing from February 17, 2023 reflecting that Chadderdon

was the LPMEC Chair or president; Brungardt’s letter of resignation from the LPMEC board; the

cease-and-desist letter to Brungardt from Eric Doster, legal counsel for LPM; and the cease-and-

desist letter to Brungardt from Angela McArdle, national Libertarian Party Chair.

15.    Comerica staff informed Mr. Chadderdon that it would not process his request without

certification by the LPMEC treasurer as to his status as president.

       ANSWER: Admitted with clarification. Chadderdon and the legitimate officer(s) of

LPMEC informed Plaintiff that the treasurer had resigned for health reasons, and so Plaintiff would

need certification by the LPMEC secretary.

16.    At that time, publicly available information through the State of Michigan Department of

Licensing and Regulatory Affairs Corporations Online Filing System (“LARA”) indicated that the

LPMEC treasurer was Joseph Ziemba.

       ANSWER: Denied. LARA would have reflected that the LPMEC secretary was Daniel

Ziemba, and Norm Peterson was treasurer. Chadderdon and Ziemba brought a printout from

LARA to Comerica and Comerica staff looked it up themselves as well, and both reflected this

information.

17.    On or about February 23, 2023, Joseph Ziemba certified to Comerica that Andrew

Chadderdon was the LPMEC president. This certification was consistent with the publicly




                                                 8
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.882 Filed 07/22/23 Page 9 of 62




available information through LARA at the time which identified Mr. Chadderdon as the LPMEC

president.

       ANSWER: Admitted with clarification. Mr. Ziemba’s first name is Daniel.

18.    Accordingly, Comerica processed Mr. Chadderdon’s request to be substituted as signer for

LPMEC on all five of that corporation’s deposit accounts as well as a change of address for the

deposit customer. Then Mr. Chadderdon closed two existing deposit accounts to open two new

successor deposit accounts in the name of LPMEC.

       ANSWER: Admitted in part; denied in part. Admitted that Comerica processed

Chadderdon’s request to be substituted as signer on February 23, 2023, but it was for the three

original deposit accounts. Chadderdon then opened up the three new accounts on February 27,

2023, and was then the sole signer on those accounts. Denied that Chadderdon closed or requested

any LPMEC accounts to be closed. Chadderdon lacks knowledge or information sufficient to form

a belief as to how one or more accounts were closed, other than receiving information from

Plaintiff on or about March 22 or 23, 2023, that Plaintiff closed all six accounts.

19.    On or about March 9, 2023, Mike Saliba appeared at Comerica branch 68 to complain

about having been removed as an account signer for LPMEC.

       ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph, and therefore denies the same.

20.    On the same date, an attorney named Nick Curcio transmitted a letter purporting to act as

attorney for LPMEC and asserting on behalf of LPMEC that Andrew Chadderdon was not a

LPMEC officer and that some of the LARA filings for LPMEC were fraudulent.

       ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

the truth of the allegations in this paragraph, and therefore denies the same. However, the LPMEC



                                                 9
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.883 Filed 07/22/23 Page 10 of 62




 held an Executive Session on May 4, 2023, and the committee unanimously voted to retain Hooper

 Hathaway, P.C., as its legal representation, and not Nick Curcio.

 21.    On March 10, 2023, Mike Saliba returned to Comerica branch 68 with newly filed LARA

 documentation that contradicted, in large part, the previously filed LARA materials that Comerica

 reviewed when processing Andrew Chadderdon’s claim to be LPMEC president.

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same. However, the LNC has

 alleged in its federal Complaint against Brungardt, Saliba, and Thornton that any LARA filings

 made by them violate and infringe on LNC’s Trademark of “Libertarian Party.” [See Exhibit 1, p

 8.]

 22.    In reaction to this controversy, Comerica unsuccessfully attempted to reach Daniel Ziemba

 to determine whether he, in his capacity as LPMEC secretary, would certify the materials now

 being presented by Nick Curcio as proof that LPMEC had removed Andrew Chadderdon as

 president.

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same. However, when Mr.

 Ziemba provided a sign letter to Plaintiff attesting to Chadderdon’s legitimate position as Chair or

 president, he included his contact information to Plaintiff. Mr. Ziemba informed Chadderdon that

 he could not find any record of a missed or attempted contact from Plaintiff.

 23.    When this effort proved unsuccessful, Comerica decided to exercise its contractual right to

 terminate its deposit relationship with LPMEC.

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.



                                                  10
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.884 Filed 07/22/23 Page 11 of 62




 24.    To execute its decision terminating the deposit relationship with LPMEC, Comerica issued

 cashier’s checks as follows representing the closing balances for each of the four deposit accounts

 with positive balances (Account xxx9283 was at zero balance at this time):

                      Account No       Cashier’s Check No         Amount
                       xxx6457            001684797             $21,839.69
                       xxx6465            001684795               7,476.75
                       xxx6440            001684796               7,989.47
                       xxx4602            001684794                 927.39
                                                         Total: $38,233.30

        ANSWER: Admitted in part. Admitted that Comerica issued cashier’s checks and the

 account numbers, check numbers, and amounts, except that xxx4602 should be xxx4062. Account

 No. xxx4062 was the General Fund, but all but $1,000.41 was transferred from this account to

 Account No. xxx6457 as the new General Fund. As to the remainder, Chadderdon lacks knowledge

 or information sufficient to form a belief as to the truth of the allegations in this paragraph, and

 therefore denies the same.

 25.    On or about March 22, 2023, Comerica mailed the cashier’s checks to 30005 Malvern St.

 Westland, Michigan which was the address of record on Comerica’s books at that time for

 LPMEC. On information and belief, this is an address at which Andrew Chadderdon receives mail.

        ANSWER: Admitted.

 26.    On information and belief, defendants Brungardt, Saliba and Thornton contest whether

 delivery of the cashier’s checks to the address provided by Chadderdon constitutes payment by

 Comerica of its debt to LPMEC.

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same. However, both the

 LNC and the LPM recognize Chadderdon as the legitimate Chair of the LPMEC, and both have

 demanded that Brungardt cease misrepresenting himself as the Chair of the LPMEC and demanded

                                                 11
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.885 Filed 07/22/23 Page 12 of 62




 that he turn over all of LPM’s and LPMEC’s property and to transfer all LPM and LPMEC’s bank

 accounts to Chadderdon as the LPMEC’s Chair.

 27.    As of this date, none of the cashier’s checks had been presented to Comerica for payment.

        ANSWER: Admitted.

 28.    As a matter of law, a deposit relationship between a bank and its depositor is a

 debtor/creditor relationship in which the bank is indebted to its depositor for the amount of the

 deposit balance.

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 29.    Comerica does not contest that it is indebted to LPMEC in the amount of $38,233.30.

        ANSWER: Admitted.

 30.    Termination of Comerica’s deposit relationship with LPMEC requires, therefore, that

 Comerica discharge its debt by payment of this deposit balance to LPMEC.

        ANSWER: Admitted.

 31.    The competing, mutually exclusive claims by the individual defendants make it impossible

 for Comerica to identify which of them is authorized to endorse and negotiate instruments payable

 to the order of LPMEC.

        ANSWER: Denied that it would be impossible to identify which party should have

 authority to endorse and negotiate instruments on behalf of LPMEC, as Plaintiff admitted that the

 information it found on LARA at the time reflected that Chadderdon was president or Chair of the

 LPMEC and that it also had contact with the secretary of LPMEC on February 23, 2023, Daniel

 Ziemba, who certified to Plaintiff that Chadderdon was the LPMEC president or Chair.




                                                  12
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.886 Filed 07/22/23 Page 13 of 62




 32.     If Comerica unilaterally refuses to honor the any of the cashier’s checks, then Comerica

 incurs the risk of liability for expenses, interest and consequential damages under UCC 3-411;

 MCL 440.3411(2).

         ANSWER: Admitted.

 33.     Comerica, on the other hand, has no independent means for assessing the reliability of

 representations of the individual defendants who challenge Mr. Chadderdon’s authority to take

 possession of the cashier’s checks on behalf of LPMEC.

         ANSWER: Denied. Plaintiff received a copy of the cease-and-desist letter from the

 national Libertarian party – the LNC – addressed to Brungardt, recognizing Chadderdon as the

 Chair of the LPMEC. [See Exhibit 4, letter from the national Libertarian Party through Chair

 Angela McArdle to Brungardt, 2/16/2023.] Plaintiff also received a copy of: a letter from secretary

 Daniel Ziemba stating that Chadderdon was the Chair and was authorized to take control of the

 accounts; meeting minutes from the LPMEC January 25, 2023 meeting reflecting that Brungardt

 was directed to add Chadderdon to the accounts; a LARA filing from February 17, 2023 reflecting

 that Chadderdon was the LPMEC Chair or president; Brungardt’s letter of resignation from the

 LPMEC board; and the cease-and-desist letter to Brungardt from Eric Doster, legal counsel for

 LPM.

 34.     There is no mechanism available, therefore, for LPMEC to make a facially valid

 declaration of loss and claim under UCC 3-312; MCL 440.3312.

         ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 35.     Without judicial relief, Comerica is unable to protect itself from the risk of multiple

 liability.



                                                  13
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.887 Filed 07/22/23 Page 14 of 62




        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 36.    Accordingly, Comerica seeks interpleader relief under MCR 3.603 and proposes to

 interplead an amount equal to LPMEC’s aggregate closing deposit balance less whatever amount

 this Court may award under MCR 3.603(E) as reimbursement for stakeholder expenses and fees.

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 37.    In order to preserve the possibility for complete relief while this Court considers the merits

 of the individual defendants’ competing claims, an order restraining negotiation and payment on

 the cashier’s checks is appropriate under UCC 3-602; MCL 440.3602(5)(a).

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 38.    Alternatively, Comerica seeks declaratory relief under MCR 2.605.

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 39.    Comerica has become involuntarily entangled in an actual controversy among the

 individual defendants concerning which of them is authorized to function as an LPMEC officer.

        ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 40.    This Court otherwise has jurisdiction over this dispute on the basis of its power to grant

 interpleader and other equitable relief.

        ANSWER: Admitted.




                                                  14
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.888 Filed 07/22/23 Page 15 of 62




 41.      Comerica seeks a declaratory judgment that identifies who is entitled to take custody

 LPMEC’s deposit balance from Comerica.

          ANSWER: Admitted.

 42.      All of the defendants except Andrew Chadderdon have filed a counterclaim asserting that

 Comerica is liable for the amount of draws against LPMEC’s deposits during the time that Andrew

 Chadderdon acted as sole signer for LPMEC.

          ANSWER: Admitted in part, denied in part. Admitted that as of the date of Comerica’s

 First Amended Complaint and of the date of this Answer, Chadderdon has not filed a counterclaim.

 As to the remainder, Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 43.      When he files a responsive pleading, Andrew Chadderdon may make a corresponding

 claim against Comerica arising out of any draws made by the other individual defendants while

 they acted as signers for LPMEC.

          ANSWER: Admitted.

 44.      Comerica contests whether it should be held liable to reimburse any of the defendants for

 any draws made by any of the individual defendants.

          ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to

 the truth of the allegations in this paragraph, and therefore denies the same.

 45.      In the event, however, that Comerica is held liable for honoring any draw authorized by

 any individual defendant, then Comerica ask [sic] for a corresponding award of damages against

 that individual defendant.

       ANSWER: Chadderdon lacks knowledge or information sufficient to form a belief as to the

 truth of the allegations in this paragraph, and therefore denies the same.



                                                  15
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.889 Filed 07/22/23 Page 16 of 62




    WHEREFORE, Defendant Andrew Chadderdon asks for the following relief:

    1. An Order enjoining Defendants, Joseph Brungardt, Michael Saliba, and Angela Thornton

        from endorsing or negotiating the cashier’s checks issued by Comerica payable to the order

        of LPMEC. (Check Nos 001684794, 001684795, 001684796 and 001684797.)

    2. An Order denying the award of Comerica’s actual costs as stakeholder under MCR

        3.603(E), or in the alternative, order Defendants Brungardt, Saliba, and/or Thornton to pay

        any award of Comerica’s actual costs under MCR 3.603(E).

    3. An Order requiring Comerica to deposit with the Clerk of this Court the total interpleader

        stake ($38,233.30).

    4. A Declaration that Defendant Chadderdon is the true, legitimate, and lawful Chair and

        President of LPMEC.

    5. An Order directing Comerica to deliver the deposit balance to LPMEC with Defendant

        Chadderdon as the individual with authority to accept the deposit balance on behalf of

        LPMEC.

    6. An award of money damages to Defendant Chadderdon and/or LPMEC along with an

        award of attorney fees, expenses, and costs in addition to whatever additional interest,

        penalties and sanctions may be allowed by law or court rule.



                                                     Respectfully submitted,

                                                     HOOPER HATHAWAY, P.C.


 Dated: June 22, 2023                        By:     /s/ Oscar A. Rodriguez
                                                     Oscar A. Rodriguez (P73413)
                                                     Attorney for Andrew Chadderdon




                                                16
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.890 Filed 07/22/23 Page 17 of 62




                                     AFFIRMATIVE DEFENSES

         1.       Plaintiff’s claims are barred, in whole or in part, for failure to state a claim.

         2.       Plaintiff’s claims are barred, in whole or in part, due to fraud or due to fraud by

 other parties.

         3.       Plaintiff’s claims are barred, in whole or in part, due to misrepresentation or due to

 misrepresentation by other parties.

         4.       Plaintiff’s claims are barred, in whole or in part, because it has not suffered any

 injuries or damages.

         5.       Plaintiff’s claims are barred, in whole or in part, because it failed to comply with

 its contractual terms.

         6.       Plaintiff’s claims are barred, in whole or in part, by MCR 2.116(C)(6), (C)(7),

 (C)(8), (C)(9), and/or (C)(10).

         7.       Plaintiff’s claims are barred, in whole or in part, for the reasons set forth in

 Defendant Chadderdon’s answer.

         8.       Plaintiff’s losses or damages, if any, were caused by its own actions or inactions.

         9.       Plaintiff’s losses or damages, if any, were caused by persons and/or entities other

 than Defendant Chadderdon.

         10.      Plaintiff’s claims are barred, in whole or in part, by the applicable doctrine of

 laches, waiver, estoppel, and/or unclean hands.

         11.      Plaintiff’s claims are barred, in whole or in part, by Michigan common law.

         12.      Plaintiff’s claims are barred, in whole or in part, by Michigan statutory law.

         13.      Plaintiff’s claims are barred, in whole or in part, due to its bad-faith actions.

         14.      Plaintiff’s claims are barred, in whole or in part, due to lack of causation.



                                                     17
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.891 Filed 07/22/23 Page 18 of 62




        15.     Plaintiff’s claim to an award of actual costs under MCR 3.603(E) is barred by the

 doctrine of unclean hands because Plaintiff wrongfully declined to honor the cashier’s checks sent

 to LPMEC through rightful chair, Defendant Chadderdon, violating or breaching the Deposit

 Contract with LPMEC.

        16.     Plaintiff’s claims are barred, in whole or in part, because the Libertarian National

 Committee, Inc., has solely recognized Defendant Chadderdon as the legitimate chair of the

 LPMEC.

        17.     Plaintiff’s claims are barred, in whole or in part, because on February 15, 2023,

 legal counsel for the legitimate LPM sent a cease-and-desist letter to Defendant Brungardt to

 immediately terminate any further misrepresentation as having any authority to govern the affairs

 of the LPM and the LPMEC and to return its property.

        18.     Plaintiff’s claims are barred, in whole or in part, because the Libertarian National

 Committee, Inc., sent a cease-and-desist letter to Defendant Brungardt, demanding an immediate

 termination to any representations of being the legitimate Michigan state affiliate of the Libertarian

 National Committee, Inc., and use of its Trademarks, and from identifying as the recognized

 LPMEC.

        19.     Plaintiff’s claims are barred, in whole or in part, because Defendant Chadderdon

 provided Plaintiff with documentation from LPM’s legal counsel and from the Libertarian National

 Committee, Inc. that established him as the legitimate Chair of the LPMEC.

        20.     Plaintiff’s claims are barred, in whole or in part, because despite providing

 sufficient proofs that Defendant Chadderdon is the legitimate Chair of the LPMEC, Plaintiff has

 refused to allow the LPMEC through Chair Chadderdon to secure the funds belonging to LPMEC,




                                                  18
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.892 Filed 07/22/23 Page 19 of 62




 or otherwise prevented the legitimate LPMEC to access its rightful funds, which has damaged both

 the LPMEC and the Libertarian National Committee, Inc.

        21.      Plaintiff’s claims are barred, in whole or in part, because Plaintiff allowed

 Defendant Brungardt, who did not have official recognition from the Libertarian National

 Committee, Inc. or from the LPM, to add Defendants Saliba and Thornton to LPMEC’s bank

 accounts at Comerica.

        22.      Plaintiff’s claims are barred, in whole or in part, because the Judicial Committee

 has found the election of Defendants Brungardt, Saliba, and/or Thornton were out of order as a

 violation of its bylaws and parliamentary procedures and held that any actions taken by the

 erroneous board which are of a continuing nature and null and void.

        23.      Plaintiff’s claims are barred, in whole or in part, because on January 25, 2023, the

 LPM, through its counsel, directed Defendant Brungardt to add the legitimate Chair, Defendant

 Chadderdon, to the LPMEC’s bank account at Comerica Bank and Brungardt ignored these

 instructions.

        24.      Defendants Brungardt, Saliba, and/or Thornton have filed frivolous claims or

 defenses.

        25.      Plaintiff’s claims are barred, in whole or in part, due to Plaintiff violating the

 LPMEC’s and/or Defendant Chadderdon’s rights to due process.

        26.      Plaintiff’s claims are barred, in whole or in part, because Section 535 of the

 Michigan Nonprofit Corporation Act (MCL 450.2535) does not apply to the LPMEC as it is

 organized on a directorship basis and has no members in law.




                                                  19
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.893 Filed 07/22/23 Page 20 of 62




        27.     Plaintiff’s claims are barred, in whole or in part, because the affairs of the LPM and

 the LPMEC are governed by the LPM bylaws and not by a state statute, as the First Amendment

 to the United States Constitution requires that the political party rules prevail.

        28.     Plaintiff’s claims are barred, in whole or in part, because both the LPM Bylaws and

 the Michigan Nonprofit Corporation Act require adherence to the Judicial Committee’s December

 19, 2022 decision, which invalidated Brungardt’s selection as LPMEC Chair and recognized

 Chadderdon as the legitimate Chair.

        29.     Plaintiff’s claims are barred, in whole or in part, because the bylaws of the LNC

 state that there shall be no more than one state-level affiliate party in any one state, and the LNC

 does not recognize Brungardt, Saliba, or Thornton to be legitimate officers or representatives of

 the LPMEC.

        Defendant Chadderdon reserves the right to amend and supplement these Affirmative

 Defenses based upon facts established in the course of additional pre-trial proceedings.



                                                        Respectfully submitted,

                                                        HOOPER HATHAWAY, P.C.


 Dated: June 22, 2023                           By:     /s/ Oscar A. Rodriguez
                                                        Oscar A. Rodriguez (P73413)
                                                        Attorney for Andrew Chadderdon




                                                   20
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.894 Filed 07/22/23 Page 21 of 62




                                        PROOF OF SERVICE

           I hereby certify that on June 22, 2023, I electronically filed the foregoing document with

 the Clerk of the Court via the MiFILE TrueFiling system, which will serve copies of upon service

 contacts of record.

           I declare that the above statements are true to the best of my knowledge, information and

 belief.

                                                        /s/ R. Abigail Adams
                                                        R. Abigail Adams, Paralegal

 Prepared by:

 /s/ Oscar A. Rodriguez
 Oscar A. Rodriguez (P73413)
 HOOPER HATHAWAY, P.C.
 126 South Main Street
 Ann Arbor, Michigan 48104
 (734) 662-4426
 Counsel for Defendant Andrew Chadderdon




                                                   21
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.895 Filed 07/22/23 Page 22 of 62




                         EXHIBIT 1
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.896  Filed
                                            PagelD.1 Filed    07/22/23Page
                                                            05/05/23    Page 2319
                                                                           1 of of 62




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN


 LIBERTARIAN NATIONAL                |
           COMMITTEE, INC.,          |
                                     |
       Plaintiff,                    |
   v.                                |                  CIVIL ACTION NO.:
                                     |
 MIKE SALIBA,                        |                  23-cv-11074
 RAFAEL WOLF,                        |
 GREG STEMPFLE,                      |
 ANGELA THORNTON-CANNY,              |
 JAMI VAN ALSTINE,                   |
 MARY BUZUMA, and                    |
 DAVID CANNY,                        |
 JOSEPH BRUNGARDT                    |                  JURY TRIAL DEMANDED
                                     |
       Defendants.,                  |
 ____________________________________|


                COMPLAINT FOR TRADEMARK INFRINGEMENT AND
             OTHER LANHAM ACT VIOLATIONS UNDER 15 U.S.C. §§ 1114, 1125

        1.        This is an action under the laws of the United States, Title 15 of the United States

 Code, for trademark infringement, false designation of origin, false advertising, unfair

 competition, passing off, and unjust enrichment under 15 U.S.C. §§ 1114, and 1125(a)(1)(A) and

 (B), in which Plaintiff Libertarian National Committee, Inc. ("LNC" or "Plaintiff'), makes the

 following allegations against Mike Saliba, Rafael Wolf, Greg Stempfle, Angela Thornton Canny,

 Jami Van Alstine, Mary Buzuma, Danny Canny and Joseph Brungardt (collectively

 "Defendants").

                                               PARTIES

        2.        Plaintiff LNC is a District of Columbia Corporation, having its primary office at

 1444 Duke St, Alexandria, Virginia, 22314.

                                                                                         Page 1 of 19
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.897  Filed
                                            PagelD.2 Filed    07/22/23Page
                                                            05/05/23    Page 2419
                                                                           2 of of 62




          3.    Defendant Mike Saliba ("Saliba") is an individual residing within Michigan.

 Upon information and belief, Saliba resides at 16231 Scenic Clinton TWP, Macomb, Michigan

 48038.

          4.    Defendant Rafael Wolf ("Wolf") is an individual residing within Michigan. Upon

 information and belief, Wolf resides at 1418 Elkerton Avenue, Kalamazoo, Michigan 49048.

          5.    Defendant Greg Stempfle ("Stempfle") is an individual residing within Michigan.

 Upon information and belief, Stempfle resides at 2615 Hyland, Ferndale, Michigan 48220.

          6.    Defendant Angela Thornton Canny ("Thornton Canny") is an individual residing

 within Michigan. Upon information and belief, Thornton Canny resides at 15223 Ripple Drive,

 Linden, Michigan 48451.

          7.    Defendant Jami Van Alstine ("Van Alstine") is an individual residing within

 Michigan. Upon information and belief, Van Alstine resides at 28158 Heather Way, Romulus

 Michigan 48174.

          8.    Defendant Mary Buzuma ("Buzuma") is an individual residing within Michigan.

 Upon information and belief, Buzuma resides at 714 S. Beacon Blvd, Apt. 76, Grand Haven,

 Michigan 49417.

          9.    Defendant David Canny ("Canny") is an individual residing within Michigan.

 Upon information and belief, Canny resides at 15223 Ripple Drive, Linden, Michigan 48451.

          10.   Defendant Joseph Brungardt ("Brungardt") is an individual residing within

 Michigan. Upon information and belief, Brungardt resides at 4140 8-1/2 Mile Road, Sterling

 Heights, Michigan 48116.

                                JURISDICTION AND VENUE

          11.   This action arises under the commerce and trade laws of the United States, Title

                                                                                     Page 2 of 19
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.898  Filed
                                            PagelD.3 Filed    07/22/23Page
                                                            05/05/23    Page 2519
                                                                           3 of of 62




 15 of the United States Code. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§

 1331.

         12.    Venue is proper in this district under 28 U.S.C. §§ 1391(b)(1)&(2).

                             FACTS COMMON TO ALL CLAIMS

         13.    Plaintiff, Libertarian National Committee, Inc., is the National Committee of the

 Libertarian Party as defined by 52 U.S.C. §30101(14) and manages the business of the

 Libertarian Party throughout the United States at the national level, including by functioning as a

 libertarian political entity separate and distinct from all other political parties or movements;

 electing Libertarians to public office to move public policy in a libertarian direction; chartering

 affiliate parties throughout the United States and promoting their growth and activities;

 nominating candidates for President and Vice-President of the United States, and supporting

 Libertarian Party and affiliate party candidates for political office; and entering into public

 information activities.

         14.    The LNC is authorized to charter affiliates throughout the United States.

 Properly chartered affiliates are licensed to use the LNC's federally registered trademarks. In

 1972, the LNC chartered the Libertarian Party of Michigan (LPM), as an affiliate of the

 Libertarian Party. In January 2023, a group of individuals, Defendants, challenged the legitimate

 leadership of the officially recognized state-level affiliate of the Libertarian Party, the LPM.

 Plaintiff has continued to recognize the legitimate affiliate organization. However, Defendants,

 individually and as a group, have, without permission and without license, beginning in January

 2023, willfully adopted, used and infringed one or both of the LNC's federally registered

 trademarks. Defendant's infringement and caused harm and damage to the LNC, including

 monetary harm, political harm and reputational harm to the LNC, the Libertarian Party and the

                                                                                         Page 3 of 19
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.899  Filed
                                            PagelD.4 Filed    07/22/23Page
                                                            05/05/23    Page 2619
                                                                           4 of of 62




 LPM, and dilution and disparagement of the Plaintiff's federally registered trademarks and the

 good will associated therewith. Defendants have used the LNC's federally registered marks to,

 among other things, solicit funds and to illegitimately suggest their activities and organization

 are affiliated with the Plaintiff without the Plaintiff's consent.

         15.     The governing arm of the LPM is the Libertarian Party of Michigan Executive

 Committee, Inc. ("LPMEC"). The directors of the LPMEC are defined in their Articles of

 Incorporation and Corporate Bylaws and are recognized as an affiliate by the Plaintiff, LNC.

 [see Exhibit 1, Articles of Incorporation and Bylaws of LPMEC,] The LPM has a legitimate

 LPMEC that is recognized and authorized by the LNC to use Plaintiff's Trademarks.

         16.     The following LPMEC positions have been illegitimately claimed by the

 following Defendants: Brungardt (Chair- originally) Saliba (Chair-current), Wolf (1st Vice-

 Chair), Stempfle (2nd Vice-Chair), Thornton-Canny (Treasurer), and Van Alstine (Secretary).

 The Defendants' claims of recognition are denied by the Plaintiff who recognizes a different set

 of officers as representing its Michigan affiliate and as authorized to use its trademarks. The

 LPMEC is authorized to charter sub-affiliates. Until April 7, 2023, two of those sub-affiliates

 were the Libertarian Party of West Michigan ("LPWM") and the Libertarian Party of Genesee

 County ("LPGC"). Defendant Buzuma is the Chair of LPWM, and Defendant Canny is the

 Chair of LPGC. Currently, neither of these organizations are recognized by Plaintiff LNC and

 are not authorized to use either Registered mark.

                                         THE TRADEMARKS

         17.     As part of its management of the Party, Plaintiff has registered a number of

 trademarks ("Libertarian Party Trademarks") with the USPTO that are associated and identified

 with its national and local political activities and affiliations.

                                                                                        Page 4 of 19
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.900  Filed
                                            PagelD.5 Filed    07/22/23Page
                                                            05/05/23    Page 2719
                                                                           5 of of 62




        18.     Plaintiff's Trademarks include the federally registered trademark rights to:

         - "Libertarian Party" Reg. No. 2,423,459 [Exhibit 2]. This mark has been in use in

        commerce at least since January of 1972.

        - the "Libertarian" logo Reg. No. 6,037,046 [Exhibit 3]. This mark has been in use in

 commerce at least since 2015.

        19.     The Plaintiff currently and has continuously actively used the Libertarian Party

 Trademarks in commerce [Exhibit 4, screenshot of front page of Plaintiff's website LP.org].

        20.     Plaintiff grants the use of its Trademarks to its officially recognized state-level

 affiliates and their officially recognized sub-affiliates pursuant to Plaintiff's Bylaws [Exhibit 5,

 Libertarian Party Bylaws, specifically, Article 5.1].

        21.     On or about January 31, 2023, Defendants wrongfully claimed to be officers of

 the LPMEC and thus entitled to use the Plaintiff's Trademarks and to authorize sub-affiliates to

 do likewise.

        22.     On February 15, 2023, counsel for the representatives of the legitimate LPMEC

 recognized by the Plaintiff, sent a cease and desist letter to Defendant Brungardt, the original self

 proclaimed unrecognized chair of the Defendant Group, to immediately terminate any further

 misrepresentation as having any authority to govern the affairs of LPMEC and return their

 property [see Exhibit 6, cease and desist letter from Eric Doster, Esq. dated February 15, 2023,

 and Exhibit 7, response email from Defendant's former board member Scotty Boman dated

 February 15, 2023].

        23.     On February 16, 2023, Plaintiff sent a cease and desist letter to Defendant

 Brungardt, demanding an immediate termination to any representations of being the legitimate

 Michigan state affiliate of the Plaintiff and use of its Trademarks, including the designation

                                                                                          Page 5 of 19
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.901  Filed
                                            PagelD.6 Filed    07/22/23Page
                                                            05/05/23    Page 2819
                                                                           6 of of 62




 "Libertarian Party" and identifying as the recognized LPMEC at that time [see Exhibit 8, cease

 and desist letter from LNC Chair Angela McArdle dated February 16, 2023, and Exhibit 9,

 response from Brandon G. Warzybok dated February 8, 2023].

         FACTS COMMON TO DEFENDANTS BRUNGARDT, SALIBA, WOLF,
              STEMPFLE, THORNTON-CANNY, AND VAN ALSTINE

        24.     On January 25, 2023, the governing arm of the LPM, the LPMEC, directed

 Defendant Brungardt to add the Chair, Andrew Chadderdon, to the LPMEC's bank account at

 Comerica Bank. Brungardt ignored these instructions and on January 31,2023, claimed that he

 was the LPMEC Chair. Subsequently, under the direction of the other Defendants, Brungardt

 added Defendants Saliba and Thornton-Canny to the account while claiming that these were

 rightful officers of the LPMEC who were entitled to use Plaintiff's Trademark "Libertarian

 Party" and to operate as an affiliate of Plaintiff. Thereafter, Chadderdon successfully appealed

 to Comerica's legal department to have his name added to the LPMEC bank account based upon

 documentation from LPMEC's legal counsel and from Plaintiff. However, on or about March

 22, 2023, Defendants had the assets frozen after attempting to draw upon the account.

 Chadderdon made a second successful appeal after which Comerica provided him with cashier's

 checks for the balance and closed the account. However, on or about April 28, 2023,

 Chadderdon was notified that an Interpleader/Declaratory action (Case No. 23-557-CB

 Washtenaw County Circuit Court, State of Michigan) was filed by Comerica due to the

 continued attempts of Defendants to secure the funds properly belonging to LPMEC. Lack of

 access to funds has damaged the LPMEC and Plaintiff LNC.

        25.     On or about April 20, 2023, Thornton-Canny filed a campaign finance report with

 the state of Michigan purporting to be on behalf of the legitimate LPMEC entitled to use the


                                                                                     Page 6 of 19
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.902  Filed
                                            PagelD.7 Filed    07/22/23Page
                                                            05/05/23    Page 2919
                                                                           7 of of 62




 Plaintiff's Trademark of "Libertarian Party" [see Exhibit 9, screenshot of Michigan campaign

 finance filing dated April 20, 2023].

        26.     On February 5, 2023, and March 19, 2023, under color of being the legitimate

 Treasurer of LPMEC, and thus falsely authorized to use the Plaintiff's Trademark of "Libertarian

 Party," Thornton-Canny filed false amended Statements of Organization with the Federal

 Elections Commission ("FEC") claiming a change in Treasurer, website, and address. Under 52

 U.S.C. §§ 30101-46, this is an improper attempt to be recognized as a state-level affiliate of a

 recognized national party. As claimed by Thornton-Canny in the filings, an organization must

 be recognized as part of the official structure of said national political party, however, Thornton-

 Canny was fully aware that the organization referenced in her filing did not have official

 recognition from Plaintiff LNC [see Composite Exhibit 11, Amended Statements of

 Organization dated February 5, 2023, and March 19, 2023, filed by Angela Canny Thornton to

 the FEC; and Exhibit 12, letter from the FEC to the LNC's counsel dated November 17, 2016].

 These false filings have harmed the Libertarian Party and may adversely affect the ability of the

 Libertarian Party to put its 2024 Presidential and Vice-Presidential candidate on the ballot in

 Michigan.

        27.     On February 3, 2023, Defendants Brungardt, Saliba, Wolf, Stempfle, Thornton-

 Canny and Van Alstine, registered a website (michiganlp.net) using the Plaintiff's Trademark of

 "Libertarian Party" which was further deceptively similar to the website of the recognized

 LPMEC (michiganlp.org) [see Exhibit 13, screenshot of WhoIs information for the

 michiganlp.net domain] and attempted to have the legitimate website taken down by its hosting

 provider, Domain IT. Until such time as this trademark suit is resolved, the legitimate LPMEC

 is locked out of making any domain transfers or other fundamental identity changes to its

                                                                                        Page 7 of 19
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.903  Filed
                                            PagelD.8 Filed    07/22/23Page
                                                            05/05/23    Page 3019
                                                                           8 of of 62




 website due to this fraudulent and bad faith take-down effort as per a phone call from Domain IT

 made to Mr. Chadderdon on or about March 7, 2023.

        28.     On multiple dates, including February 7, 2023, Defendants filed documentation

 with the Michigan Corporations registry ("LARA") claiming to be the legitimate directors of

 LPMEC and entitled to the use of the Plaintiff's Trademark of "Libertarian Party" [see Exhibit

 14, LARA filing dated February 7, 2023].

        29.     On or about March 3, 2023, Plaintiff sent an email to its membership in Michigan

 alerting them to the identity of the correct website and contact email [see Exhibit 15, email from

 Plaintiff to Michigan membership dated March 3, 2023].

        30.     In response and on the same day, Defendants sent out an email to the Michigan

 membership fraudulently "spoofing" the email address of the recognized affiliate identified by

 the Plaintiff and using Plaintiff's Trademark of "Libertarian Party" in an infringing manner [see

 Composite Exhibit 16, email from Defendants dated March 3, 2023, and screenshot of email

 header showing spoofed sender]. They have sent numerous other emails representing

 themselves as the Michigan affiliate and using Plaintiff's Trademark of "Libertarian Party"

 without engaging in spoofing.

        31.     Defendants have set up several social media accounts falsely holding themselves

 out to be representatives of the affiliated LPMEC and using Plaintiff's Trademark of "Libertarian

 Party" [see Composite Exhibit 17, depicting Twitter and Facebook pages infringing upon

 Plaintiff's Trademark].

        32.     Defendants have further advertised numerous meetings, including an alleged

 annual convention [see previously referenced Exhibit 16], representing themselves as the

 Michigan affiliate and infringing upon Plaintiff's Trademark.

                                                                                      Page 8 of 19
Case 5:23-cv-11074-JEL-EAS
   Case 2:23-cv-11074-JEL-EASECFECF
                                 No. No.
                                     17-6,
                                         1, PageID.904  Filed
                                            PagelD.9 Filed    07/22/23Page
                                                            05/05/23    Page 3119
                                                                           9 of of 62




         33.     Defendants have published Bylaws upon their website explicitly claiming that

 they are operating as an affiliate of the Plaintiff and using the Plaintiff's Trademark throughout

 [see Composite Exhibit 18, screenshots of Defendants' website using Plaintiff's Trademark

 including the explicit claim of affiliation with Plaintiff].

         34.     Defendants have taken money from individuals as "membership dues" using their

 claims of false association with the Plaintiff and took receipt of other funds from individuals

 related thereto and is actively soliciting same [see Exhibit 19, donation page from Defendants'

 website].

         35.     Defendants and their associates have made it clear that their intent is to disrupt,

 dilute, and defame the Trademark and good will of the Plaintiff and ignore any demands for

 cessation. They have further made harassing and potentially defamatory claims to and about the

 attorney of the affiliated LPMEC [see Composite Exhibit 20, screenshot of post from Defendant

 Saliba joking about burning any cease and desist letters, screenshot of post from Defendant

 Canny describing damaging Plaintiff's brand as a "Holy Quest," picture of Defendants' fellow

 board member Brian Ellison disrupting a legitimate board meeting by stripping off of his clothes,

 and screenshot of post by Defendants' former fellow board member Scotty Boman accusing

 attorney of malpractice].

         36.     Plaintiff anticipates receiving complaints regarding the same -wherein

 individuals contact Plaintiff to inquire about non-existent memberships in the LNC or the

 "Libertarian Party," and/or the LPM and are upset that they've paid money but have no

 membership with the Plaintiff or have given personal and private contact information in reliance

 upon the claim of association with the Plaintiff and use of Plaintiff's Trademark.



                                                                                         Page 9 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.905Filed
                                       1, PagelD.10     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1032
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                          FACTS RELATING TO DEFENDANT CANNY

         37.     Defendant Canny is the chair of LPGC, a formerly recognized affiliate of the

 LPMEC previously entitled to use Plaintiffs' trademarks. Canny had been notified as of April 7,

 2023, that LPGC's affiliation would be revoked if the organization did not meet certain

 conditions which were not met [see Exhibit 21, email from Andrew Chadderdon to LPGC

 notifying of intent to disaffiliate and to cease further infringing activities].

         38.     Defendant Canny operates a website using Plaintiff's Trademarks without

 authorization [see Exhibit 22, screenshot of LPGC website depicting use of both of Plaintiff's

 Trademarks].

         39.     Further, Canny has used LPGC in order to process money in assistance of

 fundraising efforts in furtherance of the infringing activities described above [see Exhibit 21

 referenced previously, and Exhibit 23, screenshot of donation page on michiganlp.net noting the

 LPGC as the processor for donations].

                        FACTS RELATING TO DEFENDANT BUZUMA

         40.     Defendant Buzuma is the chair of LPWM, a formerly recognized affiliate of the

 LPMEC previously entitled to use Plaintiffs' trademarks. Buzuma had been notified as of April

 7, 2023, that LPGC's affiliation would be revoked if the organization did not meet certain

 conditions which were not met [see Exhibit 24, email from Andrew Chadderdon to LPWM

 notifying of intent to disaffiliate].

         41.     Defendant Buzuma operates a website using Plaintiff's Trademarks without

 authorization [see Exhibit 25, screenshot of LPWM website depicting use of both of Plaintiff's

 Trademarks].



                                                                                      Page 10 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.906Filed
                                       1, PagelD.11     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1133
                                                                              of of
                                                                                 1962




                                COUNT I
           FEDERAL TRADEMARK INFRINGEMENT UNDER 15 U.S.C. § 1114

         42.     Plaintiff restates herein and incorporates by reference all of the above paragraphs.

         43.     Plaintiff LNC is the exclusive owner and registrant of Plaintiffs Trademarks,

 Reg. No. 2,423,459 and Reg. No. 6,037,046 and to all common law rights thereto and associated

 therewith.

         44.     Plaintiffs registrations of the Trademarks at the USPTO are valid and active, and

 in full force and effect.

         45.     Plaintiff has used, and continues to use, its registered Trademarks in commerce.

         46.     Defendants have, without the consent of the Plaintiff, used the Trademarks,

 reproductions of the Trademarks, counterfeits of the Trademarks, copies of the Trademarks,

 and/or colorable imitations of the Trademarks in commerce in a manner that is confusing and/or

 confusingly similar.

         47.     Defendants' Infringing uses have been in connection with repeated and continuous

 distribution, advertising, registration, and publication of information and materials containing

 references to "Libertarian Party" and as far as Defendants Canny and Buzuma, using the

 Libertarian Party "torch eagle" logo.

         48.     Defendants' Infringing uses of Plaintiffs Trademarks occurred, and occur, in

 related commercial fields for related commercial services (e.g., political party communications,

 political party activities, political press activity, political candidate screenings, official filing and

 registrations and endorsements).

         49.     Defendants' Infringing uses of Plainti ff s Trademarks further include Defendants

 soliciting funds from individuals - by misleading and deceiving those individuals as to


                                                                                           Page 11 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.907Filed
                                       1, PagelD.12     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1234
                                                                              of of
                                                                                 1962




 Defendants' relationship, affiliation or sponsorship with or by Plaintiff, by using Plaintiff's

 Trademarks and in other manners.

        50.     Defendants' Infringing uses of Plaintiff's Trademarks- especially when

 considered in light of their knowing and defiant continued uses - have been intentional, to create

 a false impression of affiliation, authorization or sponsorship.

        51.     Defendants' Infringing uses of Plaintiff's Trademarks- especially when

 considered in light of their knowing and defiant continued uses - have been intentional, to harm

 Plaintiff's marks, to harm Plaintiff's good will and to dilute Plaintiff's marks.

        52.     Defendants' Infringing uses have therefore caused confusion and mistake, and are

 likely to continue to cause confusion or mistake as Defendants' association, affiliation or

 relationship with Plaintiff. Such confusion or mistake is probable, given the relatedness of

 Defendants' Infringing Uses.

        53.     Defendants' Infringing uses constitute trademark infringement and trademark

 dilution in violation of the Lanham act and 15 U.S.C.

        54.     Defendants' infringing activities and willful conduct in relation thereto, constitute

 trademark infringement in violation of 15 U.S.C. § 1114(1) and the Lanham Act.

        55.     Plaintiff has been, and will continue to be harmed by Defendants' Infringing

 activities. Defendants' conduct has irreparably harmed Plaintiff, and will continue to do so unless

 enjoined by this Court.

        56.     As a result of Defendants' conduct, Plaintiff has been harmed and is entitled to

 damages, including, but not limited to, actual damages, statutory damages, treble damages, and

 corrective advertising damages and a temporary and permanent injunction.

         57.    The harm caused to Plaintiff's business, goodwill, reputation, trademarks and

                                                                                        Page 12 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.908Filed
                                       1, PagelD.13     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1335
                                                                              of of
                                                                                 1962




 finances are a direct and proximate result of Defendants' intentional, deliberate, and willful use

 of Plaintiffs Trademarks in an infringing manner.

         58.     The intentional, deliberate, and willful actions of Defendants render this an

 exceptional case, entitling Plaintiff to enhanced damages and an award of attorney's fees and

 costs associated with the action pursuant to 15 U.S.C. § 1117(a).

         59.     The damage caused to Plaintiff by Defendants cannot be fully measured or

 compensated for in economic terms. Such irreparable harm will continue unless Defendants are

 enjoined from such conduct.

                                   COUNT II
                  UNFAIR COMPETITION UNDER 15 U.S.C. § 1125(a)(1)(A)

         60.     Plaintiff herein restates and incorporates by reference all paragraphs above.

         61.     Defendants have, without the consent of the Plaintiff, used the Libertarian

 Trademarks - including, but not limited to, words, terms, names, symbols, and combinations

 thereof.

         62.     Defendants have, without the consent of the Plaintiff, used the Libertarian

 Trademarks in false designations of origin, false or misleading descriptions of fact, or false or

 misleading representations of fact, regarding the Trademarks.

         63.     Defendants' unlawful usage of Plaintiffs Trademarks has caused and is likely to

 continue to cause confusion, or to cause mistake, or to deceive as to the affiliation, connection,

 or association of Defendants or their activities with the Plaintiff.

         64.     Defendants' unlawful usage of Plaintiffs Trademarks is likely to cause confusion,

 or to cause mistake, or to deceive as to the origin, sponsorship, or approval of their commercial

 activities by the Plaintiff.


                                                                                      Page 13 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.909Filed
                                       1, PagelD.14     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1436
                                                                              of of
                                                                                 1962




         65.      Defendants' unlawful usage of Plaintiff's Trademarks has caused confusion,

 mistake and deception as to the origin, sponsorship, or approval of their commercial activities by

 the Plaintiff.

         66.      Defendants' Infringing Uses of Plaintiff's Trademarks include Defendants

 receiving money from individuals - by misleading and deceiving those individuals as to

 Defendants' relationship, affiliation or sponsorsh ip with or by Plaintiff, using Plaintiff's

 Trademarks.

         67.      Defendants' unlawful usage of Plaintiff's Trademarks is willful and deliberate.

         68.      Defendants have acted purposefully to create a false or misleading association in

 order to trade off of the extensive goodwill that Plaintiff's Trademarks have established.

         69.      Defendants' unlawful usage of Plaintiff's Trademarks and willful conduct in

 relation thereto constitute false designation of origin, false descriptions, and dilution of the

 Trademarks in violation of 15 U.S.C. § 1125(a)(1)(A).

         70.      Plaintiff has been, and will continue harmed by Defendants' unlawful usage of

 Plaintiff's Trademarks. Defendants' conduct has irreparably harmed Plaintiff, and will continue

 to do so unless enjoined by this Court.

         71.      As a result of Defendants' unlawful usage of Plaintiff's Trademarks, Plaintiff has

 been harmed and is entitled to damages, including but not limited to, actual damages, statutory

 damages, treble damages, and corrective advertising damages.

         72.      The harm caused to Plaintiff's business, goodwill, reputation, and finances are a

 direct and proximate result of Defendants' intentional, deliberate, and willful misuse of

 Plaintiff's Trademarks in an unlawful manner.

         73.      The intentional, deliberate, and willful actions of Defendants render this an

                                                                                         Page 14 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.910Filed
                                       1, PagelD.15     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1537
                                                                              of of
                                                                                 1962




 exceptional case, entitling Plaintiff to enhanced damages and an award of attorney's fees and

 costs associated with the action pursuant to 15 U.S.C. § 1117(a).

         74.      The damage caused to Plaintiff by Defendants cannot be fully measured or

 compensated for in economic terms. Such irreparable harm will continue unless Defendants are

 enjoined from such conduct.

                                    COUNT III
                   FALSE ADVERTISING UNDER 15 U.S.C. § 1125(a)(1)(B)

         75.      Plaintiff herein restates and incorporates by reference all of the above paragraphs.

         76.      Defendants have, without the consent of the Plaintiff, used the Trademarks-

 including, but not limited to, words, terms, names, symbols, and combinations thereof.

         77.      Defendants have, without the consent of the Plaintiff, used the Trademarks in

 false designations of origin, false or misleading descriptions of fact, or false or misleading

 representations of fact, regarding the Trademarks.

         78.      Defendants have, without the consent of the Plaintiff, used the Trademarks in

 commercial advertising and promotion.

         79.      Defendants' unlawful usage of Plaintiff's Trademarks in commercial advertising

 or promotion misrepresents the nature, characteristics, qualities, or geographic origin of their

 commercial activities.

         89.      Defendants' unlawful usage of Plaintiff's Trademarks has caused confusion,

 mistake and deception as to the origin, sponsorship, or approval of their commercial activities by

 the Plaintiff.

         81.      Defendants' Infringing uses of Plai ntiff's Trademarks include Defendants

 receiving money from individuals - by misleading and deceiving those individuals as to


                                                                                       Page 15 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.911Filed
                                       1, PagelD.16     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1638
                                                                              of of
                                                                                 1962




 Defendants' relationship, affiliation or sponsorsh ip with or by Plaintiff, using Plaintiffs

 Trademarks.

         82.      Defendants' unlawful usage of Plaintiffs Trademarks is willful and deliberate.

        83.       Defendants have acted purposefully to falsely advertise and promote their

 activities in order to trade off of the extensive goodwill that Plaintiffs Trademarks have

 established.

         84.      Defendants' unlawful usage of Plaintiffs Trademarks and willful conduct in

 relation thereto constitute false advertising of the Trademarks in violation of 15 U.S.C. §

 1125(a)(1)(B).

        85.       Plaintiff has been, and will continue harmed by Defendants' unlawful usage of

 Plaintiffs Trademarks. Defendants' conduct has irreparably harmed Plaintiff, and will continue

 to do so unless enjoined by this Court.

        86.       As a result of Defendants' unlawful usage of Plaintiffs Trademarks, Plaintiff has

 been harmed and is entitled to damages, including but not limited to, actual damages, statutory

 damages, treble damages, and corrective advertising damages.

         87.      The harm caused to Plaintiffs business, goodwill, reputation, and finances are a

 direct and proximate result of Defendants' intentional, deliberate, and willful misuse of

 Plaintiffs Trademarks in an unlawful manner.

        88.       The intentional, deliberate, and willful actions of Defendants render this an

 exceptional case, entitling Plaintiff to enhanced damages and an award of attorney's fees and

 costs associated with the action pursuant to 15 U.S.C. § 1117(a).

        89.       The damage caused to Plaintiff by Defendants cannot be fully measured or

 compensated for in economic terms. Such irreparable harm will continue unless Defendants are

                                                                                        Page 16 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.912Filed
                                       1, PagelD.17     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1739
                                                                              of of
                                                                                 1962




 enjoined from such conduct.

                                     COUNT IV
                      INJUNCTIVE RELIEF UNDER 15 U.S.C. § 1116(a)

         90.    Plaintiff herein restates and incorporates by reference all paragraphs.

         91.    Plaintiff has shown, herein, that Defendants has unlawfully used Plaintiffs

 Trademarks in violation of 15 U.S.C. §§ 1114, 1125(a)(1)(A) and 1125(a)(1)(B).

         92.    Plaintiff has shown, herein, that Defendants' infringement of Plaintiffs

 Trademarks is willful, deliberate and ongoing.

         93.    Plaintiff has shown, herein, that Plaintiff has been, and will continue to be,

 harmed by Defendants' infringement of Plaintiffs Trademarks.

         94.     Plaintiff has shown, herein, that Plaintiff has been irreparably harmed by

 Defendants' infringement of Plaintiffs Tradem ark, and that Defendants will continue to do so

 unless enjoined by this Court.

         95.    The damages caused to Plaintiff by Defendants cannot be fully measured or

 compensated for in economic terms. Such irreparable harm will continue unless Defendants are

 enjoined from such conduct.

                                      DEMAND FOR JURY TRIAL

         Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury

 of any issues so triable by right.

                                        PRAYER FOR RELIEF

 WHEREFORE, Plaintiff respectfully requests that this Court enter:

         A preliminary injunction enjoining Defendants and others acting in concert with

 Defendants from infringing on plaintiffs trademarks and from using, advertising or publicizing


                                                                                       Page 17 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.913Filed
                                       1, PagelD.18     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1840
                                                                              of of
                                                                                 1962




 any information that includes or refers to Plaintiffs Trademarks or any colorable imitation

 thereof;

           A judgment in favor of Plaintiff that Defendants violated 15 U.S.C. § 1114;

           A judgment in favor of Plaintiff that Defendants violated 15 U.S.C. § 1125(a)(1)(A);

           A judgment in favor of Plaintiff that Defendants violated 15 U.S.C. § 1125(a)(1)(B);

           A judgment in favor of Plaintiff that Defendants intentionally violated 15 U.S.C. § 1114;

           A judgment in favor of Plaintiff that Defendants intentionally violated 15 U.S.C. §

 1125(a)(1)(A);

           A judgment in favor of Plaintiff that Defendants intentionally violated 15 U.S.C. §

 1125(a)(1)(B);

           A judgement in favor of Plaintiff that Defendants have violated the Federal trademark

 rights of Plaintiff.

           A judgement in favor of Plaintiff that Defendants have violated Plaintiffs' Lanham Act

 rights.

           A judgment and order requiring Defendants to pay Plaintiff monetary damages - in an

 amount to be determined at trial- in addition to awarding Plaintiffs' attorney's fees, costs,

 expenses, enhanced and/or exemplary damages, and pre-judgment and post-judgment interest;

           A permanent injunction enjoining Defendants and others acting in concert with

 Defendants from infringing on plaintiffs trademarks and from using, advertising or publicizing

 any information that includes or refers to Plaintiffs Trademarks or any colorable imitation

 thereof; and

           Any and all other relief to which Plaintiff may show itself to be entitled.



                                                                                         Page 18 of 19
Case 5:23-cv-11074-JEL-EAS
  Case 2:23-cv-11074-JEL-EAS ECF No.
                               ECF   17-6,
                                   No.     PageID.914Filed
                                       1, PagelD.19     Filed 07/22/23Page
                                                            05/05/23    Page
                                                                           1941
                                                                              of of
                                                                                 1962




 May 5, 2023                                 Respectfully Submitted,


                                               /s/ Joseph J. Zito
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                                                                       Page 19 of 19
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.915 Filed 07/22/23 Page 42 of 62




                         EXHIBIT 2
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.916 Filed 07/22/23 Page 43 of 62



 On November 18th, Mr. Chadderdon submitted an appeal to the Judicial Committee (JC). Mr.
 Chadderdon (the Appellant) alleged that the body (the Appellees) violated the Libertarian Party
 of Michigan bylaws by conducting improperly noticed business at the July 9th Candidate
 Nominating Convention. His appeal and arguments can be viewed here.

 All interested parties were given an opportunity to submit argumentation for and against the
 appeal. The JC reviewed all of the submissions and conducted a hearing on December 9th,
 allowing all parties to further argue their cases. The submissions and the hearing can be
 reviewed here.

 On Tuesday, December 13th, the JC voted to grant Mr. Chadderdon the appeal, on all points. In
 this document, the Judicial Committee will provide its analysis of the appeal and the main
 arguments against it. We have referenced the Libertarian Party of Michigan Bylaws as amended
 June 26, 2021 and Robert's Rules of Order, Newly Revised (RONR 12th Ed.)

 First, we shall consider if the Judicial Committee even has purview over this matter.

 “The appeal cannot be reviewed because the Judicial Committee (JC) has no
 jurisdiction to overturn decisions of a convention, particularly if the appeal is not
 raised during the convention.” Submission, Joe Brungardt + Undersigned

 The Bylaws, Article V, Section 2 say unambiguously:

 “The Judicial Committee shall decide cases involving alleged violations of these bylaws or
 resolutions.”

 No exemptions for a convention are specified in this language. Furthermore, the timeliness of
 the appeal has no bearing on this matter. Robert's Rules of Order (RONR) states:

 23:6 “The only exceptions to the requirement that a point of order must be made promptly at the
 time of the breach arise in connection with breaches that are of a continuing nature, whereby
 the action taken in violation of the rules is null and void. In such cases, a point of order can be
 made at any time during the continuance of the breach - that is, at any time that the action has
 continuing force and effect - regardless of how much time has elapsed.
 A. A main motion has been adopted that conflicts with the bylaws of the organization or
 assembly.
 E. Any action has been taken in violation of a rule protecting absentees … or a rule protecting a
 basic right of an individual member (25:7, 25:10-11).“

 25:10 “Rules protecting absentees cannot be suspended even by unanimous consent of or an
 actual unanimous vote, because the absentees do not consent to such suspension.
 25:11 Rules protecting a basic right of the individual member cannot be suspended.”
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.917 Filed 07/22/23 Page 44 of 62



 Mr. Chadderdon’s appeal alleges that not only was the business conducted in violation of the
 bylaws, but that his rights as a member and the rights of absentee members were violated.
 These violations (his removal from the Libertarian Executive Committee (LEC) by unnoticed
 vote of no confidence and subsequent unnoticed elections of officers and representatives) are of
 a continuing nature as he still is no longer chair of the board and the officers elected at the
 Candidate Nominating Convention (CNC) are still acting as members of the LEC.

 Regardless of how any member feels about this case or Mr. Chadderdon in particular, the
 protection of our members’ rights should be taken very seriously, especially because we are
 Libertarians. In no circumstance should we find it permissible to knowingly violate a member’s
 rights, nor should we ever dismiss such allegations out of hand. The judicial committee is
 designed to be the recourse by which members may protect their rights not just from the
 Libertarian Executive Committee (LEC), but from the other members as a whole. It is entirely in
 order for the Judicial Committee to adjudicate this matter, and we will proceed accordingly.

 Now we proceed to analyze the appellant’s case:

 “The election of officers to the Libertarian Party of Michigan Executive Committee (LEC) and
 removal of an officer from the LEC that were carried out on July 9, 2022 at the Candidate
 Nominating Convention were done in violation of the bylaws of the Libertarian Party of Michigan
 (LPMI). LPMI bylaws require AT LEAST 30-day notice for business to be conducted at the
 convention. The resignations that led to the elections and removal occurred on June 15, 2022,
 so sufficient notice to carry out those actions at that convention was not and could not be given.”
 Appeal, Chadderdon

 Mr. Chadderdon proceeds to lay out his case as follows:

 “1. The Candidate Nominating Convention that occurred on July 9, 2022 was a special
 convention as defined in the LPMI Bylaws.
 2. LPMI Bylaws, as amended in convention June 26,2021, require that notice for ALL
 conventions is given with AT LEAST 30-day notice to all members of the Libertarian Party
 of Michigan and members of the national Libertarian Party that reside in Michigan.
 3. Robert’s Rules of Order Newly Revised, 12th edition (RONR) states that notice must be
 given to members for filling vacancies.
 4. RONR states that for a special meeting, all substantive business must be designated in the
 call of the meeting.
 5. Resignations of the Chair and 1st Vice Chair occurred on June 15, 2022. Resignations of
 other officers occurred (District Representatives) on June 14, 2022.
 6. The first attempt to make a motion of no confidence to remove an officer from the LEC
 was sent to members of the LEC on June 19, 2022
 7. Details of these violations were provided at convention, prior to the actions being carried
 out by the convention body. The information was willfully ignored.” Appeal, Chadderdon

 We shall analyze these claims in order:
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.918 Filed 07/22/23 Page 45 of 62




 “1. The Candidate Nominating Convention that occurred on July 9, 2022 was a special
 convention as defined in the LPMI Bylaws.” Appeal, Chadderdon

 The Appellant argues that the CNC on July 9th was a special convention. The arguments
 against the Appellant contend that the Candidate Nominating Convention is a regular
 convention and conducting regular business without notice is valid. Here are all references in
 the bylaws to the “candidate nominating convention” and “regular” conventions. (highlights
 added):



 “III.

         1. The officers of the Party shall be a chair, a first vice chair, a second vice chair, a
            secretary, a treasurer, and the Congressional district representatives described below,
            hereinafter referred to as the “Executive Committee.” These are the same individuals
            who shall serve as the directors of the “Libertarian Party of Michigan Executive
            Committee, Inc.” None of these offices shall be combined. All of these officers shall be



              -
            elected to a two-year term at a regular convention of the Party by the attending
            delegates (as to the Congressional district representatives, those delegates from the
            respective districts) and shall take office immediately upon the close of such convention
            and shall serve until the final adjournment of the next regular convention.
         2. At each regular convention, following the selection of those officers of the Executive
            Committee elected at large, the delegates from each Congressional district shall caucus
            to select one person residing in that district to serve as the Congressional district
            representative for that district.

 V.

         1.    The judicial power of the Party shall be vested in a Judicial Committee composed of
              three Party members. All of these committee members shall be elected to a two-year
              term at a regular convention of the Party by the attending delegates and shall take office
              immediately upon the close of such convention and shall serve until the final
              adjournment of the next regular convention. No member of the Executive Committee
              may be a member of the Judicial Committee.

 VI.

         1. During years in which a Libertarian Party primary occurs, the Party shall hold a fall state
            convention after the date of the primary and not less than 60 days before the general
            November election in accordance with state law (MCL 168.591). During even-numbered
            years in which a Libertarian Party primary election is not required by state law, the Party
            shall hold a candidate nominating convention after the filing deadline for candidates to
            appear on Michigan’s primary ballot and before the date of the primary. During
            odd-numbered years, the Party shall hold a regular state convention between April 1
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.919 Filed 07/22/23 Page 46 of 62



        and July 31, performing such business as required herein.”


 These bylaws, with the guidance of RONR, serve to establish a cumulative definition of “a
 regular convention”: They must occur on odd-numbered years, officers and the JC shall be
 elected to two year terms at regular conventions, and shall serve until the adjournment of the
 next regular convention. In the most plain of readings of these bylaws, it is impossible to
 consider any other convention as a regular convention. RONR offers some further insight:

 56:68
 “2) When a provision of the bylaws is susceptible to two meanings, one of which conflicts with or
 renders absurd another bylaw provision, and the other meaning does not, the latter must be
 taken as the true meaning.”

 In Article 6, Section 1, the terms “Candidate Nomination Convention” and “regular convention”
 are referred to in two distinct sentences, each outlining two distinct conditions. If the Candidate
 Nominating Convention (CNC) were considered a “regular convention,’ that definition would
 render that and several other articles of the bylaws absurd; Article III Section 1-2 would
 mandate we elect officers and Article V Section 1 would mandate we elect the JC at the CNC, in
 spite of the odd year, two year timelines specified in each bylaw. Clearly, we do not elect all
 officers and the JC at every convention, so every convention cannot be considered regular even
 in practice.

 The Bylaws say, in plain language, that the CNC is a convention with the specific purpose of
 nominating candidates, therefore all other business is prohibited, per RONR:

 56:68
 “4) If the bylaws authorize certain things specifically, other things of the same class are thereby
 prohibited.”

 We’ve established that the CNC cannot be considered a regular convention, but can it be
 considered a special convention as the Appellant alleges? Here are RONR’s definitions of
 Regular and Special Conventions:

 “9:1 The term regular meeting refers to the periodic business meeting of a permanent society ..
 held at weekly … or similar intervals, for which the day should be prescribed by the bylaws and
 the hour and place should be fixed by a standing rule.
 9:2 If, instead, an organization follows the practice of scheduling … its regular meetings by
 resolution, notice (also referred to as the call of the meeting) must be sent to all members a
 reasonable time in advance of each regular meeting.
 9:13 A special meeting (or called meeting) is a separate session of a society held at a time
 different from that of any regular meeting, and convened only to consider one or more items of
 business specified in the call of the meeting. Notice of the time, place, and purpose of the
 meeting, clearly and specifically describing the subject matter of the motions or items of
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.920 Filed 07/22/23 Page 47 of 62



 business to be brought up, must be sent to all members a reasonable number of days in
 advance. The reason for special meetings is to deal with matters that may arise between
 regular meetings and that require action by the society before the next regular meeting, or to
 dedicate an entire session to one or more specific matters.”

 We have already cited the uses of regular convention, but here is how the bylaws use “special
 convention”:

 VI

 3. “The Party shall hold a special convention within 45 days upon the call of the Executive
 Committee or when petitions are submitted by 10% of the current membership, specifying the
 purpose for the special convention.”

 Lastly, let’s reference once again RONR on the interpretation of Bylaws:

 56:68
 “8) In cases where the bylaws use a general term and also two or more specific terms that are
 wholly included under the general one, a rule in which only the general term is used applies to
 all of the specific terms.”

 The bylaws use the terms “convention,” “regular convention” and “special convention,”
 throughout. “Convention” is a general term, and the applications of “regular” and “special” are
 specific. We’ve already established that the various uses of “regular convention” serve to make
 a cumulative definition of the specific term. However, the term “a special convention” as used
 specifically only in Article VI, Section 3 of the bylaws is not an exclusive use definition of the
 term. Furthermore, if we were to define the CNC as a special convention, as used in RONR
 9:13, it would not affect the term’s use in Article VI, Section 3; It is not rendered absurd and the
 use of the specific term is not affected.

 The JC weighed these arguments and definitions at length. We came to the conclusion that
 while the Candidate Nominating Convention on July 9th may be considered “a special
 convention” as the Appellant argues, it cannot be defined as a “regular convention” as the
 bylaws plainly use and define the term.

 “2. LPMI Bylaws, as amended in convention June 26,2021, require that notice for ALL
 conventions is given with AT LEAST 30-day notice to all members of the Libertarian Party
 of Michigan and members of the national Libertarian Party that reside in Michigan.

 3. Robert’s Rules of Order Newly Revised, 12th edition (RONR) states that notice must be
 given to members for filling vacancies.

 4. RONR states that for a special meeting, all substantive business must be designated in the
 call of the meeting.” Appeal, Chadderdon
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.921 Filed 07/22/23 Page 48 of 62




 Here are the pertinent citations from the bylaws:

 “Article VI.
 4.4 The Executive Committee shall notify every Libertarian Party of Michigan and Michigan
 resident National Libertarian Party member, whose dues were current within 3 years, of the
 convention date, time and location no less than 30 days prior to the convention. Notification
 shall be made by at least one of the acceptable modalities for which contact information has
 been made available by the member. Acceptable modalities shall include email, phone, and
 United States Postal Service.”

 And here is Roberts’:

 “9:2 If, instead, an organization follows the practice of scheduling … its regular meetings by
 resolution, notice (also referred to as the call of the meeting) must be sent to all members a
 reasonable time in advance of each regular meeting.




 -
 9:3 In any organization, notice must be sent a reasonable time in advance of each regular
 meeting that is separated by more than a quarterly time interval from the previous regular
 meeting. Notice must also be sent a reasonable time in advance of a convention of delegates.

 9:13 A special meeting (or called meeting) is a separate session of a society held at a time
 different from that of any regular meeting, and convened only to consider one or more items of
 business specified in the call of the meeting. Notice of the time, place, and purpose of the
 meeting, clearly and specifically describing the subject matter of the motions or items of



 -
 business to be brought up, must be sent to all members a reasonable number of days in
 advance. The reason for special meetings is to deal with matters that may arise between regular
 meetings and that require action by the society before the next regular meeting, or to dedicate
 an entire session to one or more specific matters.

 47:58 Notice of filling a vacancy in an office (including a vacancy in an executive board or
 executive committee) must always be given to the members of the body that will elect the
 person to fill it, unless the bylaws or special rules of order clearly provide otherwise.

 56:32 The method of filling vacancies may also be provided. Unless the bylaws clearly provide
 otherwise, notice of filling a vacancy must always be given to the members of the body that will
 elect the person to fill it.”

 When we consider these terms as written in both the bylaws and RONR, the Appellant is plainly
 correct. ALL conventions require a 30 days notice. As discussed in the previous section, the
 bylaws authorize specific items of business at this convention. The June 8th Call to Convention
 listed the convention as the “(candidate) Nominating convention.” This was the only business
 noticed 30 days in advance.
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.922 Filed 07/22/23 Page 49 of 62



 The argument by the Appellee’s that the “motion for a vote of no confidence” is exempt from
 such notice has merit and warrants close examination of the bylaw in question:

 “Article 3
 10. A member of the Executive Committee who misses three consecutive meetings of the
 Executive Committee or fails to perform his or her fiduciary duties may be removed from the
 Executive Committee and replaced by a two-thirds vote at a regular meeting of the Executive
 Committee or a majority vote at convention following a motion for a vote of no confidence. All
 Executive Committee members must be notified of the intent to remove at least 14 days prior to
 the meeting. A Congressional district representative may be replaced by a majority vote of
 a congressional district caucus at any state convention. If the chair is so removed, the first vice
 chair shall assume the chair and a new first vice chair elected. If a Congressional district
 representative resigns or is so removed, then the Executive Committee must replace him or her
 with a person residing in the same Congressional district, who shall serve until the next state
 convention, at which time the caucus for that Congressional district shall select a replacement
 for the balance of his or her term.”

 This bylaw creates a decision tree. Once it has been established that an LEC member may be
 removed (either by missing three consecutive meetings or failing to perform his or her fiduciary
 duties) they may be removed by two means: Two thirds vote at a regular meeting of the
 executive committee, or a majority vote at convention following a motion for a vote of no
 confidence. These two means are entirely distinct. Furthermore, the terms “meeting” and
 “convention” are not interchangeable, either in this section or in the bylaws as a whole, so to
 conflate the two is erroneous. The following sentence defines the notice requirement if the
 member is to be removed at the regular meeting of the executive committee, but it does not set
 a distinct notice requirement for the convention. The 14 days notice only applies to the removal
 of the board member at a regular meeting of the executive committee.

 The next sentence states that only a Congressional district representative may be removed at
 any convention. The Congressional district representative is clearly distinct from the other
 officers defined in the bylaws, and the use of the specific term “replace” only authorizes an
 election; it does not deal with the removal of the representative.

 There is no condition listed in this bylaw to exempt the substantial business of conducting a vote
 of no confidence or holding elections at convention from the notice requirements laid out in
 Article VI Section 4.4. We must consider the 30 days notice requirement to be in effect for the
 removal and replacement of the chair by the convention process.

 The proper course of action to remove an officer by this process would be to notify the LEC
 before the call to convention is issued and to have them consider adding such business to the
 agenda. Such a decision can only be made by the LEC, as the bylaws state:

 Article VI
 “6. The Executive Committee shall have supervision and management of all conventions.”
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.923 Filed 07/22/23 Page 50 of 62




 This supervision and management entails the scheduling of the convention and noticing the
 business to be conducted. The LEC as a whole may vote on the content of the call to
 convention and the business contained therein, but has often delegated that responsibility to the
 Chair and Secretary in practice. The call to convention that went out on June 8th was in fact
 approved by both the Chair and the Secretary. However, it is not possible for an individual
 member who is not the chair to add any business without a vote of the board.

 Even if the LEC as a whole had voted to have the vote of no confidence added to the agenda of
 the CNC after the 30 day deadline, it would have been a violation of these bylaws as written,
 and RONR is very clear that rules cannot be suspended:

 “25:7 Rules contained in the bylaws cannot be suspended - no matter how large the vote in
 favor of doing so or how inconvenient the rule in question may be - unless the particular rule
 specifically provides for its own suspension, or unless the rule properly is in the nature of a rule
 of order as described in 2:14. Nothing in a corporate charter can be suspended unless the
 charter or applicable law so provides.”

 The JC considered the Appellee’s citation of precedent on the matter:

 “Each of the three conventions referenced in the LPM Bylaws have specific
 items of business prescribed therein but additional regular business has
 always been conducted at them such as platform consideration,
 resolutions, and approval of previous convention minutes.

 LPM Bylaws in Section III.10 and past precedent provide for filling any
 vacancies in EC district seats by the selection of a replacement by congressional
 caucus at “any” state convention. This is what was done to fill the vacancies that
 existed at the time of the July 9th, 2022 LPM Summer Convention, whether due to
 prior resignations or resignations from being elected to other offices.” Submission, Joe
 Brungardt + Undersigned

 The parliamentarian retained by the Appellee’s, Mr. Martin, refutes this notion by citing RONR:

 “2:25 … However, if a customary practice is or becomes in conflict with the parliamentary
 authority or any written rule, and a Point of Order citing the conflict is raised at any time, the
 custom falls to the ground, and the conflicting provision in the parliamentary authority or written
 rule must thereafter be complied with. If it is then desired to follow the former practice, a special
 rule of order (or, in appropriate circumstances, a standing rule or a bylaw provision) can be
 added or amended to incorporate it.”

 The contention of the Appellant is not that the removal and replacement of officers cannot ever
 happen at a CNC, but that such business must be noticed properly. In the Judicial Committee
 hearing on December 9th, it was established during the argumentation that the previous calls to
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.924 Filed 07/22/23 Page 51 of 62



 convention did in fact contain notice for these elections, with one exception. The fact that the
 past practice was to provide proper notice for other business proves that notice is an
 established part of our processes, as it should be. If the members were not aware of a
 procedural violation, then of course they could not have contested it at that time. That does not
 mean that what happened then was correct. Expediency does not ever exempt improper
 behavior.

 “5. Resignations of the Chair and 1st Vice Chair occurred on June 15, 2022. Resignations of
 other officers occurred (District Representatives) on June 14, 2022.
 6. The first attempt to make a motion of no confidence to remove an officer from the LEC
 was sent to members of the LEC on June 19, 2022
 7. Details of these violations were provided at convention, prior to the actions being carried
 out by the convention body.” Appeal, Chadderdon

 These are statements of fact and were not contested. They establish that it simply was not
 possible for the business of calling a vote of no confidence, electing officers or Congressional
 district representatives at this convention to be noticed properly with 30 days notice.

 Considering this case and the arguments therein, the Judicial Committee spent many hours
 reviewing our organization’s bylaws and parliamentary authority. We met several times to
 discuss our findings at length and consider all of the arguments presented. We came to the
 conclusion that the Appellant, Mr. Chadderdon, presented a thorough case proving the
 violations of the bylaws. Our own research and analysis of the matter unveiled even more
 details reinforcing this case, as we have shown above.

 We have decided to grant Mr. Chadderdon’s appeal. The vote of no confidence, the election of
 officers, and the election of Congressional district representatives conducted at the Candidate
 Nominating Convention on July 9th are to be considered out of order as a violation of our
 bylaws and parliamentary procedures. The Libertarian Executive Committee shall be reverted to
 its composition as of July 8th. Any actions taken by the erroneous board which are of a
 continuing nature are null and void.

 The JC wanted to raise a couple points and make recommendations to the party that are
 pertinent to the matters resolved here:

 The language of the motion of the vote of no confidence made at the convention by Mr. Canny
 levied many accusations upon Mr. Chadderdon. What the delegates had seen at convention
 was only one man’s word versus another; no evidence or case was presented. While the bylaws
 do not mandate any such process, we recommend that a trial process be installed in our
 bylaws, in which the accuser may present a case with supporting evidence, and the accused
 may face their accuser and refute the claims levied against them. This process would ensure
 that such accusations are properly substantiated. RONR section 63 discusses at length the
 rights of the accused and the processes by which a fair disciplinary trial can take place. This
 should be a prerequisite to considering a motion calling for a vote of no confidence. We
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.925 Filed 07/22/23 Page 52 of 62



 recommend adopting a bylaw which simply points to that citation in regards to disciplinary
 matters greater than simply missing meetings. Ensuring consistent processes and standards
 would allow contentious matters to be adjudicated in a fashion that all factions can find just and
 fair.

 Many of the matters involving notice, especially the elections of officers and the vote of no
 confidence, did not have exemptions in the bylaws. Obviously, the party may choose to amend
 the bylaws to include such provisions. However, we believe the current standards of providing
 notice are sufficient.

 Signed




 Connor J. Nepomuceno, Judicial Committee Chair




 Joshua M. Smith




 Robert W. Roddis, Esq.
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.926 Filed 07/22/23 Page 53 of 62




                         EXHIBIT 3
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.927 Filed 07/22/23 Page 54 of 62



                     DOSTER LAW OFFICES, PLLC
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                                         February 15, 2023


 Joseph Brungardt                               By Email Transmission
 4140 18 ½ Mile Road                             joebfreedom@gmail.com
 Sterling Heights, Michigan 48314


 RE: Demand by Libertarian Party of Michigan (LPM) for Return of all Property Belonging to
 LPM; Cease and Desist Demand by LPM to Immediately Terminate any Further Misrepresentation
 as Having any Authority to Govern the Affairs of LPM

 Dear Mr. Brungardt:

 INTRODUCTION

 This office represents LPM with respect to the serious issues raised in this letter. It has come to
 our attention that you are misrepresenting yourself to be the current Chair of the LPM; however,
 as you know as a result of your personal and direct participation in the matter, on or about
 December 19, 2022, the Judicial Committee (in accordance with the LPM Bylaws) ruled that the
 actions taken at the July 9, 2022 Candidate Nominating Convention which led to your initial
 selection as LPM Chair --- are invalid. Specifically, the Judicial Committee unequivocally
 determined:

          “We have decided to grant Mr. Chadderdon’s appeal. The vote of no confidence,
         the election of officers, and the election of Congressional district representatives
         conducted at the Candidate Nominating Convention on July 9th are to be
         considered out of order as a violation of our bylaws and parliamentary procedures.
         The Libertarian Executive Committee shall be reverted to its composition as of July
         8th. Any actions taken by the erroneous board which are of a continuing nature are
         null and void.”

 Consequently, as a result of this Judicial Committee determination, any “actions taken by the
 erroneous board which are of a continuing nature are null and void” including without limitation,
 your selection as LPM Chair.

 In defiance of the Judicial Committee’s determination, you apparently are claiming that Section
 535 of the Michigan Nonprofit Corporation Act (MCL 450.2535) precludes the taking of any
 action with respect to your status as LPM Chair since you were not removed by any members of
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.928 Filed 07/22/23 Page 55 of 62

 the Michigan nonprofit corporation known as “Libertarian Party of Michigan Executive
 Committee, Inc.” (State of Michigan Identification Number 800902778). Such a claim fails for
 many reasons.

 “LIBERTARIAN PARTY OF MICHIGAN EXECUTIVE COMMITTEE, INC.” DOES
 NOT HAVE MEMBERS

 The Michigan nonprofit corporation known as “Libertarian Party of Michigan Executive
 Committee, Inc.” does not have members. According to Article IV of the Articles of Incorporation
 of “Libertarian Party of Michigan Executive Committee, Inc.” filed on January 19, 2005, this
 nonprofit corporation is organized on a directorship basis. Nowhere in these Articles of
 Incorporation or in the Bylaws of “Libertarian Party of Michigan Executive Committee, Inc.”
 dated January 23, 2005 is there any reference to members. Consequently, because “Libertarian
 Party of Michigan Executive Committee, Inc.” is organized on a directorship basis and has no
 members in law and in fact, any reference to a “member removal requirement” under Section 535
 of the Michigan Nonprofit Corporation Act is misplaced.

 LPM EXISTS SEPARATELY FROM “LIBERTARIAN PARTY OF MICHIGAN
 EXECUTIVE COMMITTEE, INC.” AND CONTROLS “LIBERTARIAN PARTY OF
 MICHIGAN EXECUTIVE COMMITTEE, INC.”

 LPM is the political party designated by the Libertarian National Committee as the affiliate of the
 Libertarian Party in the State of Michigan. As previously referenced, “Libertarian Party of
 Michigan Executive Committee, Inc.” (State of Michigan Identification Number 800902778).is a
 Michigan nonprofit corporation. According to Article II of the Bylaws of “Libertarian Party of
 Michigan Executive Committee, Inc.”:

        “The LPM Bylaws are incorporated by reference in these Bylaws. In the event of
        any conflict between the LPM Bylaws and these Bylaws, the LPM Bylaws shall
        take precedence.”

 According to Article III of the LPM Bylaws:

        “The officers of the Party shall be a chair, a first vice chair, a second vice chair, a
        secretary, a treasurer, and the Congressional district representatives described
        below, hereinafter referred to as the “Executive Committee.” These are the same
        individuals who shall serve as the directors of the “Libertarian Party of Michigan
        Executive Committee, Inc.””

 Consequently, members of the LPM Executive Committee (as established and recognized pursuant
 to the LPM Bylaws) automatically become officers and directors of “Libertarian Party of Michigan
 Executive Committee, Inc.” without further corporate action. Conversely, once an individual is
 no longer a member of the LPM Executive Committee (as established and recognized pursuant to
 the LPM Bylaws) this individual automatically is no longer an officer or director of “Libertarian
 Party of Michigan Executive Committee, Inc.” without further corporate action. Therefore,
 because the decision of the Judicial Committee (which established the current officers and
 representatives thereby invalidating your selection as LPM Chair) was made pursuant to the LPM
 Bylaws, and the LPM Bylaws establish the officers and directors of “Libertarian Party of Michigan

                                             Page 2 of 5
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.929 Filed 07/22/23 Page 56 of 62

 Executive Committee, Inc.”, the LPM Bylaws, and any actions taken pursuant to the LPM Bylaws,
 take precedence.

 AS A MATTER OF CONSTITUTIONAL LAW (NOT TO MENTION LIBERTARIAN
 PRINCIPLES), THE AFFAIRS OF THE LIBERTARIAN PARTY OF MICHIGAN ARE
 GOVERNED BY THE LPM BYLAWS---AND NOT A STATE STATUTE

 Bylaws constitute a “binding contractual agreement between the [entity] and its various
 members.” Conlin v Upton, 313 Mich App 243, 255 (2015). Accordingly, a board must follow the
 bylaws—a binding contract—unless they take steps to amend them. See also Allied Supermarkets,
 Inc v Grocer's Dairy Co, 45 Mich App 310, 315 (1973), aff’d sub nom. Allied Supermarkets, Inc
 v Grocers' Dairy Co, 391 Mich 729 (1974) (“[t]he bylaws of a corporation, so long as adopted in
 conformity with state law, constitute a binding contract between the corporation and its
 shareholders”). Here, the LPM Bylaws govern the affairs of LPM and control the affairs of
 “Libertarian Party of Michigan Executive Committee, Inc.”. Therefore, unless LPM amends the
 LPM Bylaws under the proper procedure outlined in Article XII, the LPM Bylaws (including the
 authority of the Judicial Committee pursuant to Article V) govern. See Slatterly v Madiol, 257
 Mich App 242, 250; 668 NW2d 154 (2003) (noting that bylaws are generally construed in
 accordance with the same rules used for statutory construction; thus, courts must first look at the
 specific language of the bylaw).
 As indicated earlier in this letter, there is no conflict between the operation of the LPM Bylaws
 and the Michigan Nonprofit Corporation as both require adherence to the Judicial Committee’s
 December 19, 2022 decision invalidating your selection as LPM Chair and recognizing the current
 LPM officers and representatives. However, for the sake of argument, let’s assume that there is a
 conflict between a state statute (such as the Michigan Nonprofit Corporation Act) and the LPM
 Bylaws as to the composition of the current officers of the LPM. Even in such an instance, the
 consistent principles articulated by the United States Supreme Court have made it clear that where
 the rules of a political party conflict with state law, the First Amendment requires that the political
 party rules prevail. For example, in Cousins v Wigoda, 419 US 477 (1975), the United States
 Supreme Court held that political party rules supersede state law concerning the delegate selection
 process. The Cousins decision is based upon the principle that “[t]he National Democratic Party
 and its adherents enjoy a constitutionally protected right of political association.” 419 US at 487.
 This First Amendment freedom to gather in association for the purpose of advancing shared beliefs
 is protected by the Fourteenth Amendment from infringement by any State. Democratic Party v
 Wisconsin, 450 US 107, 121 (1981). And the freedom to associate for the common advancement
 of political beliefs “necessarily presupposes the freedom to identify the people who constitute the
 association, and to limit the association to those people only.” Democratic Party v Wisconsin, 450
 US 107, 122 (1981). “Any interference with the freedom of a party is simultaneously an
 interference with the freedom of its adherents.” Sweezy v New Hampshire, 354 US 234, 250 (1957).
 According to the United States Supreme Court, on “several occasions this Court has recognized
 that the inclusion of persons unaffiliated with a political party may seriously distort its collective
 decisions - thus impairing the party’s essential functions - and that political parties may
 accordingly protect themselves ‘from intrusion by those with adverse political principles.’ Ray v
 Blair, 343 US 214, 221-222 (1951).” National Democratic Party, supra, 450 US at 1 22.
 Furthermore, in Roberts v United States Jaycees, 104 S.Ct. 3244, 3249 (1984), the United States
 Supreme Court emphasized that:

                                              Page 3 of 5
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.930 Filed 07/22/23 Page 57 of 62

        “There can be no clearer example of an intrusion into the internal structure or affairs
        of an association than a regulation that forces the group to accept members it does
        not desire. Such a regulation may impair the ability of the original members to
        express only those views that brought them together.”
 In this regard, the United States Supreme Court struck down a Connecticut statute which required
 voters in a political party primary to be registered members of that party, which conflicted with a
 state Republican party rule permitting independent voters to vote in its primaries for federal and
 statewide offices. See Tashjian v Republican Party of Connecticut, 479 US 208 (1986). Similarly,
 in Heitmanis v Austin, 899 F2d 521 (6th Cir. 1990), the Sixth Circuit Court of Appeals held as
 invalid certain portions of the Michigan Election Code which where contrary to the rules of the
 Michigan Republican Party. Significantly, the Heitmanis Court found that the Michigan Election
 Code created a significant burden on the party’s right to freedom of association because it infringed
 upon the right of political parties to choose a method for selection of their party nominees. 899
 F2d at 529.
 Accordingly, to the extent that there is a conflict between a state statute (such as the Michigan
 Nonprofit Corporation Act) and the LPM Bylaws as to the composition of the current officers of
 the LPM, the LPM Bylaws, and any actions taken pursuant to the LPM Bylaws, take precedence
 once again.

 THE LIBERTARIAN NATIONAL COMMITTEE RECOGNIZES THE COMPOSITION
 OF THE CURRENT OFFICERS AND REPRESENTATIVES OF LPM, AS
 DETERMINED BY THE JUDICIAL COMMITTEE

 In Federal Election Commission Advisory Opinion 2016-17, the Federal Election Commission
 determined that the LPM qualifies as the state committee of a national political party under the
 Federal Election Campaign Act and Commission regulations because: (1) The Libertarian National
 Party (LNP) qualifies as a political party; (2) LPM is part of the official structure of the LNP; and
 (3) LPM is responsible for the day-to-day operation of the LNP at the state level. Consequently,
 recognition from the Libertarian National Committee establishes LPM as an affiliate of the
 Libertarian National Committee. Stated differently, without recognition from the Libertarian
 National Committee, there is no LPM.

 According to Article 6 of the Bylaws of the Libertarian Party as adopted in 2008 by the Libertarian
 National Committee, there shall be no more than one state-level affiliate party in any one state.
 Significantly, the Libertarian National Committee recognizes the composition of the current
 officers of the LPM, as determined by the Judicial Committee, to be the state-level affiliate party
 of the Libertarian Party: See Leadership - Libertarian Party of Michigan (michiganlp.org).

 Because the Libertarian National Committee does not recognize you as LPM Chair or the other
 officers and representatives you contend are legitimate, you are not allowed to use the name
 “Libertarian Party” pursuant to Article 6 of the Bylaws of the Libertarian Party:

        “No person, group or organization may use the name "Libertarian Party" or any
        confusingly similar designation except the Party or an organization to which the
        Party grants affiliate party status or as otherwise provided in these bylaws.”


                                             Page 4 of 5
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.931 Filed 07/22/23 Page 58 of 62

 Consequently, a separate cease and desist letter has already been sent to you (or will soon be sent
 to you) by the Libertarian National Committee demanding that you and your colleagues not use
 the name “Libertarian Party”.

 ACTIONS RESPECTFULLY DEMANDED AND REQUESTED

 On behalf of the Libertarian Party of Michigan (LPM), it is hereby DEMANDED that you and
 your agents return all property belonging to LPM within ten (10) days of the date of this letter.
 Further, you are hereby REQUESTED to immediately terminate any further misrepresentation as
 having any authority to govern the affairs of LPM. At a minimum, you and your agents must do
 the following:

    1. Sign any documentation to transfer the LPM bank accounts to Andrew Chadderdon, LPM
       Chair and/or his designee(s).
    2. Cease to engage in any fundraising on behalf of LPM.
    3. Turn over the PO Box and any/all other accounts belonging to the LPM to Andrew
       Chadderdon, LPM Chair and/or his designee(s).

 Your anticipated cooperation is appreciated.

                                                Sincerely,

                                                DOSTER LAW OFFICES, PLLC




                                                Eric Doster


 CC: BY EMAIL TRANSMISSION

 ANDREW CHADDERDON, LPM CHAIR chair@michiganlp.org

 LIBERTARIAN NATIONAL COMMITTEE
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                                    Page 5 of 5
Case 5:23-cv-11074-JEL-EAS ECF No. 17-6, PageID.932 Filed 07/22/23 Page 59 of 62




                         EXHIBIT 4
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 Case5:23-cv-11074-JEL-EAS
       2:23-cv-11074-JEL-EAS ECF
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                                  No.17-6, PageID.933
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                                                              05/05/23 Page
                                                                       Page 60  of362
                                                                             1 of




 February 16, 2023

 Joseph Brungardt
 4140 18 1/2 Mile Rd.
 Sterling Heights, MI 48314
 michiganlibertarians@ginail.com,
 joebrungardt@ginail.com.
 joebfreedom@gmail.com

 Via Email

 Re: The Libertarian Party of Michigan

 Mr. Joe Brungardt:

 The national Libertarian Party ("LP") has a vested interest in protecting its rights and the rights of its
 affiliate parties, including the Libertarian Party of Michigan ("LPM"). It has come to our attention that
 you are holding yourself out to the public and members of the LPM as the Chair of the "Libertarian Party
 of Michigan". This is patently false.

 The presently recognized Chair of the Michigan affiliate is Andrew Chadderdon and his legitimately
 elected successors, as affinned by the LPM Judicial Committee and explicitly authorized by the LPM
 Bylaws. On or about December 13, 2022, the LPM Judicial Committee (in accordance with the
 LPM Bylaws) ruled that the actions taken at the July 9, 2022, Candidate Nominating Convention
 which led to your initial selection as LPM Chair are invalid.

 Your claim that Michigan corporate law provides otherwise is irrelevant to the identity and leadership of
 the legitimate affiliate. Likewise, your recent correspondence to LPM members advertising an
 unauthorized and illegitimate convention was also incorrect.

 Rumors have circulated that LPM' s Judicial Committee removed officers with their decision. Your state
 affiliate's Judicial Committee did not "remove" any officer or director. Their decision invalidated a
 motion of no confidence that removed Andrew Chadderdon as chair because the removal and election in
 controversy was not validly noticed. Individuals cannot be removed from positions to which they were
 not validly elected. Thus, the act of voiding an invalid removal is not a removal. It is the national LP' s
 understanding that LPM's judicial committee decision has been affirmed by counsel retained by the
 rightful LPM.

 Absent a decision from the LNC or the national Judicial Committee to the contrary, national Platform
 Committee appointments and national delegate entitlements, along with ballot access, remain with the
 Party presently chaired by Mr. Chadderdon, and his legitimately elected successors.

 In these pursuing statements and activities (holding yourself out to be chair, holding yourself out to be
 LPM, soliciting for donations, and other similar activities), you have violated LPM's bylaws, the national
 Libertarian Party's bylaws, and made unauthorized use of Libertarian Party trademarks, including but not
                   1444 Duke Street - AlexandriaVA 22314 - 1-800-Elect-Us- www.LP.org




                                                 EXHIBIT 8
Case
 Case5:23-cv-11074-JEL-EAS
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                                  No.17-6, PageID.934
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                                                        Filed 07/22/23
                                                              05/05/23 Page
                                                                       Page 61  of362
                                                                             2 of

 LPM
 2/16/23
 Page 2 of3

 limited to the trademarked name "Libertarian Party." Further, neither the Libertarian National Committee
 ("LNC") nor the LPM has authorized you to make use of its trademark( s) in order to promote a different
 political party, and any such use is hereby expressly prohibited. We are therefore sending you this letter in
 an attempt to resolve this matter without the need for legal action. We demand that you immediately cease
 and desist from making further unauthorized use of Libertarian Party trademark(s) and fraudulently
 advertising a non-Libertarian Party convention as one of the Party.

 In particular, the LNC has registered trademarks on the following:

     •   "Libertarian Party" (Reg. No. 2,423,459);
     •   "The Party of Principle" (Reg. No. 2,423,458);
     •   Libertarian Party Logo (Reg. No. 6,037,046).


 Your unauthorized use of Libertarian Party trademark( s) and false claims of official position and calling
 of an illegitimate convention harms the LNC and LPM by willfully misleading members of the public and
 the LPM into believing that your alleged chairmanship and advertised convention is affiliated with the
 Libertarian Party, when in fact no such affiliation or authorization exists. Consequently, to avoid legal
 action in this matter, we demand that you immediately take any and all actions necessary to prevent your
 further infringement on our legal rights and interests. This includes, without limitation, that you cease and
 desist from using the trademarked name "Libertarian Party" in your organization in any published
 materials, including your mailing list, Facebook and social media pages, or any other electronic forum, as
 well as any other communications, whether electronic, print, audio or any other medium, including but
 not limited to campaign literature, brochures, advertisements, email or any other communication.

 Further, it has been communicated to us by the Chair of the Libertarian Party of Michigan as well as by
 membership that their contact information secured in CiviCRM was potentially used to further these false
 representations. As you are aware, all users of CiviCRM are required to sign a Non Disclosure
 Agreement ("NDA") which limits the use of this data to legitimate Party business authorized by the
 affiliate or the national Party.

 You are advised not to destroy or otherwise spoliate any evidence of your actions relating to any potential
 NDA violations, and/or the dissemination of confidential information, pursuant to Va. Code § 8.01-
 3 79 .2: 1. You have, "a duty to preserve evidence that may be relevant to reasonably foreseeable
 litigation." If this conflict results in litigation and you have "disposed of, altered, concealed, destroyed, or
 not preserved" evidence, you may place yourself at risk of an unfavorable finding by a jury, or a default
 judgment.



 ""The textbook definition of' spoliation' is 'the intentional destruction of evidence[.'] ... However,
 spoliation issues also arise when evidence is lost, altered or cannot be produced."" Wolfe v. Virginia
 Birth-Related Neuro, 40 Va. App. 565, 581 (Va. Ct. App. 2003) The law on this matter is clear in the state
 of Virginia and in the District of Columbia, which have overlapping jurisdiction regarding the LNC's
 legal affairs. "[T]here now exists in the District of Columbia an independent action for negligent or
 reckless spoliation of evidence". Holmes v. Amerex Rent-A-Car, 710 A.2d 846, 854 (D.C. 1998)

 Based on the foregoing, we demand that you and your agents cease using the LP' s registered trademarks
 and return all property belonging to the LP within 10 days of the date of this letter. Furthermore, we
Case
 Case5:23-cv-11074-JEL-EAS
       2:23-cv-11074-JEL-EAS ECF
                              ECFNo.
                                  No.17-6, PageID.935
                                       1-17, PagelD.82 Filed
                                                        Filed 07/22/23
                                                              05/05/23 Page
                                                                       Page 62 of362
                                                                            3 of


   LPM
   2/16/23
   Page 3 of3

   request you immediately terminate any further misrepresentation that you are affiliated with the LP.
   Thank you for your attention to this matter.



   Angela McArdle, Chair

   Libertarian National Committee
